Fill in this information to rdentify your case:

United States Bankruptcy CouIt for the:

DISTRICT OF ARIZONA

Case number (,/hos,)                                                        Chapter you are filing under:

                                                                             I   Chapter T

                                                                             E   Chapter   11

                                                                             E   Chapter 12

                                                                             D Chapte|l3                                    E   Check fthis an
                                                                                                                                arnended filing




Official Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy                                                                                            1?i17
The bankruptcy forms usg you and Debtor I to refer to a debtor filing alons. A marded coupls may file a bankruptcy case togethoJ---<zlled a ioint
case-and in joint cases, these forms uge you to ask for information trom both debto6. For gxample, it a ,o]m asks, "Do you own a car," the answer
would be ygs if oither debtor owns a car. \Ivhen information ls needed about the spouseg separately, the form usos DeDro., and Deblor 2 to dlstinguish
between thom. ln joint cases, one of the spouses must .epon information as DeDto. , and the other as OeDrot 2. The same person musl be Deblot , in
all of the foms.

Be as complete and accurate as possible. lf two married people ar€ liling togethgr, both are equally responsible lor supplying correct informatlon, ll
more space is needed, attach a separate sheet to this form. On the top o, any additional pages, write your name and cass number (if known). Answer
every questlon.



@          toentit Yor.""tr

                                    About Dobtor   l:                                             About Dobtor 2 (Spoure Only ln a Jolnt Caso):

1.   Your full name

     Write the name that is  on  LOUIS                                                            DEENA
     your govemmenhissued First narne                                                             Fi6t name
     piclure dentifi cation (tor
     example, your drive/s
     licenseorpassport). lv,l,ddlejlarne                                                          Middle name

      Bringyour   pic{ure      NINO                                                               NINO
                      YOUr -i:=:
      ::lll'l::lY:l ::l:jl-.-^
      rclentfiCatlon lO
                               t-asi n'ame aho suffix (sr., Jr , rr. rll)                         Last name and Sufiix (Sr, Jr., ll, lll)
      meerng wln tne ruslee.




2,   All othgr names you have
      used in the last 8 years
      lnclude your married or
      maiden names.



3.    Only the last,l digils of
      your Social Sccurity
      numb€r or lederal             ,Jx-td.-7177                                                  xxr-xx-9571
      lndiYidual Taxpayer
      ldentilication numbgr
      (rN)




                Case 4:19-bk-08056-SHG                     Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                   Desc
Official Form 101                               Voluntary Petition for lndlviduals Filing fgr Bankruptcy                                           page
                                                           Main Document    Page 1 of 63                                                                  1
Debtor   1   LOUIS NINO
Debtoi2 DEENA NINO                                                                                    Case number 6rrown)




                                About Do&or      l:                                           About Det or 2 (Spouse Only in a Jolnt Case):

4.   Any busin6s names and
     Employer ldontifi cation
     Numbers (ElN) you have     E   I have not used any business name oI ElNs                  I   I have not used any business    narE or ElNs.
     used in the last I ysars
                                DBA LDN TMNSPORT, LLC
     lnclude trade narnes and   Business name(s)                                               Business name(s)
     dorhg bus,'ness as names

                                ElNs                                                           ElNs




5.   Wh6re you livo                                                                            l, Debtor 2 lives at a different address:

                                3660 EAST HASHKNIFE DRAW ROAD

                                Number, Street, City, State & ZIP Code                        @
                                Pinal
                                County                                                         County

                                lf your mailing add.6s is dlflerent from the one               lf Debtor 2's malling addrBss is diflercnt ftom yours, Iill it
                                above, ,ill it ln hore. Note that the court will send any      in here. Note that the court will send any notaces to this
                                notices lo you at this mailing address.                        mailing address.




                                @

6.   Why you are choosing       Check one:                                                     Check one:
     t,,s disrnbt to file for
     bankruptcy                 I       Over the last 180 days before filing this petition,    !       Overthe last 180 days before filing this petition, I
                                        I have lNed rn thrs distrid longer than in any                 have lived in this distrid longer than in any other
                                        other distrid.                                                 districl

                                E       I have another reason                                  E       I have another reason
                                        Explain. (See 28 U.S.C S 1408.)                                Explain. (See 2E U.S.C. S 1408.)




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 Otficial Form 101                            Voluntary Petition for lndividuals Filing for Bankruptcy                                                         2
                                                         Main Document    Page 2 of 63
Debtor   1    LOUIS NINO
Debtoi2 DEENA NINO                                                                                            Case number r//.,1o*rl



             T6ll the Coun About Yout Bankruptcy Case

7.    The chapter ot the      Chec* one. (For a brief descripton of each, see Nolice Requied by 11 U.S C.               S   342(b) fot lndividuals Filing lor Bankruptcy
      Bankruptcy Code you ale (Fom 2010)) Also, go to the top of page 1 and check the appropriate box.
      choosing to fila under
                                  I
                                 chapter 7

                                  E    chapter     11

                                  E    crraptert2
                                  E    Chapter 13



8.    How you will pay the   fee I           I will pay the entir€ fee when I file my petition. Please check with the clerk's offce in your local court for more detalls
                                             about how you may pay. Typically, f you are paying the fee yourself, you may pay with cash, cashieis check, or money
                                             order lt your attorney ii submining your payment on your behalf, your attomey may pay with a credit card or checl with
                                             a pre-printed address.
                                  tr         I need to pay the te€ in instatlments. lfyou choose this option, sign and attach the Apprcation fot lndividuals to Pay
                                             The Filing Fee in lnstarrnerls (Official Form 103A)
                                  tr         I requsst that my fee be waiwd (You may request thrs option only il you are filing for chapter 7. By law, a judge may,
                                                                                                                                     '150% of the oficial poverty line that
                                             but ii not requlred to, waive your fee, and may do so only ifyour income is less than
                                             applies to your family size a;d you are unable to pay the fee in installments)- lf you choose this option, you must fill out
                                             tie Apptic;tion to Have the Chapter 7 Fiting Fee l4aived (Ofrcial Form 1038) and file it with your petition


9.    Have you tiled   for        I    t,ro.
      bankruptcy within the
      last 8 years?               E    ves.
                                                  Distrid                                                                     Case number

                                                  Distrid                                  Vlrhen                             Case number

                                                  Districl                                                                    Case number



10.   Are any bankruptcy          I    tto
      cases pending ol being
      filed by a spouse who is    E    yes.
      nol flling this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                  Debtor                                                                     Relationship to you

                                                  Distrid                                                                    Case number. if known

                                                  Debtor                                                                     Relationship to you

                                                  Diskicl                                   \&hen                            Case number, if known



ll.   Do you ront     your        I    t'to.
                                                    Go to line 12
      residenca?
                                  E    Yes.         Has your landlord obtained an evidion judgment against you?

                                                    E        No. Go lo line 12

                                                    E        Yes. Fill oul lnitiat statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                             this bankruPtcl Petition




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                                                   Voluntary Petition for lndividuals Filing tor Bankruptcy
 Otfic.ial Form 101                                           Main Document    Page 3 of 63
Debtor   I    LOUIS NINO
Debtor   2    DEENA NINO                                                                                        Cas,e number r,/ircw.)




@            n"port aoout Any Businesses You own as a sole Propristor
12.   Are you a sole proprietor
      ot any full- o. part-time      INo          Go lo Part 4.
      bugloess?
                                     E   ves.     Name and location of business

      A sole proprietorship is a
      business you operate as                     Name of business,    fany
      an individual. and is not a
      separale legal entity such
      as a corporation,
      partnership, or LLC.
                                                  Number, Street, City, State & ZIP Code
      lf you have more than one
      sole proprietorship, use a
      separate sheet and attach
      it to lhis petition                         Check the apptoptiate box to descibe yout bustness:
                                                  E      Health Care Business (as defined in 1'l U.S.C S 101(27A))

                                                  E         SingleAsset Real Estate (as defined in   '11   U S.C. S 101(518))

                                                  E         Stockbroker (as defined in 11 U.S.C. S 101(5340
                                                                                                         ,l01(6))
                                                  E         Commodity Broker (as defined in 11 U.S.C. S

                                                  El        None ofthe above


13.   Are you riling under    tf you are filing under Chaptet 11, the coutl must know whethet you arc a smallbusiness deblot w thal il can set appropriate
      Chapter 1l of the       d;adl,ines. lf you indicate that you are a sma business debtor, you must attach your most recent balance sheet, statement of
                                                                                                                                                   procedure
      Bankruptcy Code and are operattons, c€sh-flow statement, and federal income tax return or il any of these documents do not exist, lollow the
      you a sma/ busiress            in 11 U.S.C 1116(1XB).
      debtor?
                                     I Ho.        I am not filing under Chapter 11
      For a definition of   sna//
      bus,ness deDtot see      1't
                                                  I am filing under Chapter 11, but I am NOT a smatl business debtor according to the definition in the Bankruptcy
      u.s.c. s 101(slD).             E Uo.
                                                  Code.

                                     E yes        I   am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.



             Report if You own or Havs Any Hazardous Property or Any Property That Needs lmmediats attsntion

14.   Do you own or have any         I   No.
      propcrty that Poses or is
      allsged to pose a threat       E   Yes
      of imminent and                           vlhat is the hazard?
      identitiable hazard to
      public hcalth or safety?
      Or do you own any
      properg that needs                        lf immediate attenlion is
      immediate atisntion?                      needed, why is it needed?

      Fot example, do you own
      Fishable    goods, or
      livestock lhat musl be ted,               Where is the property?
      ot a buildng that needs
      ugent rewits?
                                                                               Number, Slreel. Cily, Stale & Zip Code




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                                                  Voluntary Petition lor lndividuals Filing for Bankruptcy
 Otfioal Form 101                                             Main Document    Page 4 of 63
Debtor   1    LOUIS NINO
DebtoT2 DEENA NINO                                                                                           Case number (rrtrcw.)

             Explain Your Efforts to Receive a Briefing About Credit Counseling
                                    About Debtor t i                                                    Aboul Dobtor 2 (Spouse Only in a Joint Cass):
15. Tellthe coutt whether           You must check one:                                                 You must check one:
    you have receiYgd a             I   lreceived a briefing from an apprgved credit                    T   I recaived a briefing from an approved credit
    briefing about credit               counseling agGncy within the 180 days botore           I             counseling agency within th€ l8o days belor€ I filed
    counseling.                         liled this bankruptcy petition, and I received a                     this bankruptcy pctition, and I recelved a certiflcate of
                                        certifi cate ot completion.                                          completion.
    The law requires that you
    receNe a briefing about             Attach a copy of the cedificate and the payment                      Attach a copy of the certificate and the payment plan if
    credit couns€ling before            plan, if any, that you developed w h the agenry.                     any, that you developed with the agency.
    you file for bankruptcy.
    You must truthtully check       E   lreceived a briefing from an approvsd credit                    tr   Ireceiwd a brieflng from an approwd credit
    one of the following                counseling agency within the 180 days before I                       counseling agency within th€ 180 days before Itiled
    choices. lf you cannot do           ,iled thls bankruptcy petition, but I do not have                    this bankruptcy pctition, but I do not have a certificate
    so, you are not eligible lo         a certificate of completion.                                         of completion.
    file.
                                        Within 14 days afie. you file this bankruptcy                        Wthrn 14 days af,er you file this bankruptsy petition, you
                                        petition, you MUST file a clpy of the certificate and                MUST file a copy of the certificate and payment plan, if
    lI you file anyway, the court
                                        payment Plan if any.                                                 any
    can dismiss your case, you
    will lose whatever llling fee
    you paid, and your              E   I certify that I asked for credit counseling                    tr   I certify that I asked fo. credit counseling services
                                        seryices from an approved agency, but was                            from an approved agency, but was unable to obtain
    creditors can begin
                                        unable to obtain those ssrvices during the 7                         those services during the 7 days ane. I made my
    colleciion activities again.
                                        days after I made my request, and €xigent                            .equest" and exiggnt circumstances merit a 30day
                                        circumstances merit a 30day temporary waiver                         temporary waiver of the requirement.
                                        of the requirement.
                                                                                                             To ask for a 30{ay lemporary waiver ofthe requirement,
                                        To ask for a 30iay temporary waiver ol the                           attach a separate sheet explaining what efiorts you made
                                        requirernent, attach a separate sheet explaining                     to obtain the briefing, why you were unable to obtain it
                                        what efforts you made to obtain the briefing, why                    before you flled for bankruptcy, and what exlgent
                                        you were unable to obtain it before you filed for                    circumstances required you to llle this czse.
                                        bankruptcy, and what exigent circumslances
                                        required you to file this case                                       Your case may be dismissed if the court is dissatisfled
                                                                                                             w   h your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                          filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                                                                                             lf the court is satisfied with your reasons, you must still
                                         bnefing before you filed for bankruptcy.
                                                                                                             receive a briefing wthin 30 days after you lile. You musl
                                         lf the court is satisfied with your reasons, you must
                                         strll receive a briefing within 30 days aner you file.
                                                                                                             fle a cedificate from the approved agency, along with a
                                         You must file a certificate from the approved                       copy of the payment plan you developed, if any. lf you do
                                                                                                             not do so, your case may be dismissed.
                                         agency, along with a copy of the payment plan you
                                         developed, if any. lf you do not do so, your case                   Any extension of the 30{ay deadline is granted only for
                                         may be dismissed.                                                   cause and is limited to a maximum of 15 days.
                                         Any extension of the 30day deadline is granted
                                         only for cause and is limited to a maximum ol 15
                                         days.
                                    E    lam not required to receive a briefing about                   E    I amnot required to receive a briering about credit
                                         credit counseling because of:                                       counseling because of:

                                         E      lncapacity.                                                      fl   lncapacity.
                                                I have a mental illness or a mental deficiency                        I have a mental illness or a mental defrciency that
                                                that makes me incapable of realizing or                               makes me incapable of realizing or making rational
                                                making rational decjsions about finances                              decisions about finances


                                         E)     Disability.                                                      E    Disability.
                                                My physical disability causes me to be                                My physical dtsabtl y causes me to be unable to
                                                unable to padicipate in a briefing tn pe6on,                          participate rn a briefing in person, by phone, or
                                                by phone, or through the internet, even after      I                  through the internet, even afrer I reasonably tried to
                                                reasonably tned to do so.                                             do so

                                         El     Active duty.                                                     E    Active duty.
                                                I am cufiently on active military duty in a                           I am currently on active military   d'lty in a mililary
                                                military clmbat zone.                                                 combat zone.
                                         lf you believe you are not required to rec€ive a                        lf you believe you are not required to receive a briefing
                                         bnefing aboul credit c!unseling, you must file a                        about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.                     of credit counseling with the court.




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                                                          Petition tor lndividuals Filing fot Bankruptcy
                                                Voluntary Main
 Otfiqal Form 101                                                 Document             Page 5 of 63
Oebtor   1    LOUIS NINO
DebIoI2 DEENA NINO                                                                                                   Case number r,/r,owr)


@!           ln"rr", tnese Questions lor      Reporting Purposes

16.   What kind of debts do       16a           Are your debts primarily consumer debts? Consumet debts ate defined in 1 1                    U. S.   C. S 101(8) as 'incurred by an
      you hav6?                                 individual primarily for a personal, family, or household purpose.'
                                                E No Go to line '16b.
                                                I    Yes. Go to line 17.
                                                Are your debts primarily business debts? 8us/ress debts are debts that you incurred to oblain
                                                money lor a business or investrnent or through the operatron ofthe business or investment.

                                                E No co to line 16c.
                                                E Yes Go to line 17.
                                  't6c.         State the type oI debts you owe that are not consumer debts or business debts




17.   Are you filing   und6r      E    f'to     I   am not   fling under Chapter   7. Go to line 1E
      Chapter 7?

      Oo you gstimate   that      I    yes      I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
      after any exempt                          are paid that funds will be available to distribute to unsecured credrto6?
      proFrty is excluded and
      administrative expenses                   lruo
      are paid that tunds will
      be available for                          E    ves
      dist ibutign to unsscured
      creditors?

18.   How many Creditors do       I    1-a9                                               D   1,ooo,5,ooo                               D     25,001-5o,ooo
      you estimate that you                                                               E sool -1o,ooo                                E
      owe?                        tr   so-sg                                                                                                  5o.oo1-1oo,ooo
                                  E    1oo-199                                            E 1o,oo1-25,ooo                               E     More thanlOO,OOO

                                  E    2oo-999


19.   How much do ygu             tr   $o - $5o,ooo                                       E sl,ooo,ool - $10 milion                     E     ssoo,ooo,oor - $r uittion
      estimatg your assets to     E    $5o,oo1 - $r oo,ooo                                E sto,ooo,ool - $50 miltion                   E     s1,ooo,ooo,oo1 - $10 brlron
      be worth?
                                  I    $roo,oor - $5oo,ooo                                E $5o,ooo,ool - sloo million                  E     s1o,ooo,ooo,oo1 - $50 bilion
                                  E    $5oo,oo1 - $1 mrltion                              E s1oo,ooo,oo1 - $5oo milion                  E     More than $50 b'll'on


20.   How much do you             tr   so - $5o,ooo                                       E   $1.ooo,oo1 - $10 miltion                  E     ssoo,ooo,oor - sr bittion
      estimate your liabilltles   tr   $5o,oo1 - sioo,ooo                                 E   $1o,ooo,ooi - $50 mition                  E      $t,ooo,ooo,oo1 - $10 bi ion
      to be?
                                  r sroo,oor - $5oo,ooo                                   E   $5o,ooo,ool - $1oo milion                 E     s1o,ooo,ooo,oo1 ' $50 biflion
                                  E    $soo,oor - $1 mi ion                               E   $too.ooo,ool - ssoo milion                 El   More than $50 billion



@",",,-",--
For you                           I   have examined this petition, and I declare under penalty of perjury that the information provided is true and corred

                                  tl I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title               11   ,


                                  United States Code. I understand the relef available under each chapter, and I choose to proceed under Chapter 7.

                                  lf no attorney represents rne and I did not pay or agree to pay someone $/ho is not an attorney to help me fll out this
                                  document, lhave obtained and read the notice required by 11 U.S C S 342(b).

                                  I request relief in accordance with the chapter of tjtle        1   1, United States Code, specified in this petition

                                  I understand making a fatse statement, concealing property, or obtaaning money or property by traud in connedion with a
                                  bpnkrqptcy c€s, can resu[
                                  bad(ruptcy                 in ines
                                                      result tn fines up to ]z5u.uuu. or lmprlsonmenlror
                                                                         Io $25O,OOO,    imprisonmenlAr up ro  20 years,
                                                                                                            to zu        or ootn
                                                                                                                  yeals. oI       ro u...u.
                                                                                                                            both 18  U.S.C. ss rr, 1341,1519
                                                                                                                                            SS 152,
                                  ahc357t             /l                                                           /\                     ^
                                                                                                              DEENA NINO
                                                                                                                                                               -
                                  LOU|S N|NO
                                  Sqnature of Debtor          1                                               Signature of Debtor 2



                                  Ema,l Address of         Oebto-                                             rmffi
                                  Executed      on       20,2019
                                                       June                                                   Executed   on   June 20, 2019
                                                       MM/OD/YYYY                                                             MM/DD/YYYY
                 Case 4:19-bk-08056-SHG                       Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                                   Desc       page 6
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                                                             Main Document                  Page 6 of 63
Debtor   1   LOUIS NINO
Oebtor 2     DEENA NINO                                                                                Case number r/*rcwr)




For your attomey, ll you arg   l, the atlomey for thedebto(s) narned in this petition, declare that I have informed the debto(s) about eligibility lo proceed
lgpresonted by one             under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                               forwhich the person is eligible. I also cediry that I have delivered lo the debto(s) the notice required by 11 U.SC.S342(b)
lf you are not repr6ented by   and, in a case in which S 707(bX,lXD) applies, certiry that I have no knowledge affer an inqurry that the information in the
an attomey, you do not need
to file this page.
                                                                                                Oate




                               2999 North 44th Street
                               Suite 330
                               Phoenix, AZ E5008
                               Numb€r. Streei, City, Stat6 & zlP Cod6


                               contacrehm 602-235-9510                                                         rjelletl@ellettlaw.com
                               012697 AZ




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 Offcial Form                                 Voluntary Main     for lndividuals Filing for Bankruptcy
                                                        PetitionDocument
                101
                                                                                     Page 7 of 63
                                                 Certificate Number:     17   M} AZ,CC4325 l4l84
                                               illllilrrllilllllllllllm]lll
                                                                  l?18;2-rtzcc4.?sl1lt4




I CERTIFY that on March 27.2019. at 6:ll o'clock PM MST. LOUIS P NINO
received from Summit Financial Education. Inc.. an agency approved pursuant to
1l U.S.C. $ 111 to provide credit counseling in the District of Arizona. an
individual [or group] briefing that complied with the provisions of t I U.S.C. $$
109(h) and   lll.
A debt repayment plan was not prcparcd. If a debt repayment plan was prcpared, a
copy ofthe debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.




        March   27.2Ol9                          By:       /s/Lillie Hemandez


                                                 Name: Lillie Hernandez


                                                 Title:     Certified Credit Counselor




* Individuals who wish to file a banknrprcy   case under   title I I of the United   Stares Baokruptcy
Code are required 0o frle with tbe Udted States Bankruprcy Court a completed certificate of
counseling ftom tlre nonprofit budget and credit counseling agency that p,rovided the individual
the counseling services and a copy of tlre debt rcpayment plan" if any, developed through the
credit counseling ageocy. Sea I I U.S.C. SS l0g(h) and 52lO).



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                                               Certificate Number:   17   08'2-   AZ-CC4325 l4l8   I

                                              l]iltml[ililll]ilil]lLtI
                                                              rnf,z-Az.c{B2sl,     tt




I CERTIFY that on March 27. 2019. at 5:46 o'clock PM MST. DEENA M NINO
received from Summit Financial Education. Inc.. an agency approved pursuant to
ll U.S.C. $ 111 to provide credit counseling in the District of Arizona, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. $$
109(h) and    ll1.
A debt repayment plan was not prepar€d. If         a debt repayment plan was Prepared, a
copy of the debt repayment plan is afiached to this certificate.

This counseling session was conducted by internet.




Date: It{archn,2Ol9                             By:      /s/Lillie Hemandez


                                                Name: Lillie Hernandez


                                                Title:   Certified Credit Counselu




* Individuals who wish to file a banknrptcy case under title I I of fte United States Bankruptcy
Code are rcquired o file wift the United States BaDkruptcy Court a completed certificare of
counseling from the nonprofit budget and credit counseling agency that govided Ote individual
the counseling services and a copy of fre de.bt repayment plan, if any, developed through the
credit counseling agpncy. .See I I U.S.C. $S 109(h) and 52lO).



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                                               Unit dSt t rBukruptcyCourt
                                                            Iltfict    of   Artzore
           roustltlo
In   rt                                                                                          C&No.
                                                                       D.bb.G)                   Ct+a.r I
                                                                                              tr Chcck if this b m
                                                                                              ArErrcd/SrrypLmcil.l MailitB Li.il
                                                                                              (lttcldc otly nesty lddcd or
                                                                                              clr*ted crcditcs)


                                           TAIUNG LISTDEGLARANON


          Ulc,lg,ts!!p!4_PEal            -!llao_, do   Hy    clrtiry, un& padV of pajuy, tha       6lG   Mdcr i,hilirB   Lisr, cotBisting

of 3      pg{s), b conplclr, drc.r rd     co.BisEtrt wilh   tn   dcbta(s} Sdrcdulcs




Dore: &rl2o,20i3



De'       Jur    20, 20/re
                                                        TEEXANO
                                                        Siporc of Drttor
Dtc: J,',t,,?f19
                                                        SigDtrc of Albrry
                                                        Rsd       J.   B{r Oldfl Trer   D.    Prr? O1a66
                                                        EldlluOfic.+P.C.
                                                        2r$ llodr +In gr..t
                                                        &ln !n
                                                        PhG{r,AZISC
                                                        6ol{}'{5t0           F.E @ll-235{0s




MMl._R.$rittmcnB_&a)l           t                                                                                                   MMI-3

s-rc.fr         tsl   t-{Iol'- c-. uc.EE-.ra                                                                                 i-c-hE



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NINO, LOUIS and DEENA -


ALLIED ]NTERSTATE
PO BOX 19326
MTNNEAPOLTS MN 55419


ARIZONA DEPARTMENT OF REVENUE
160O WEST MONROE STREET
PHOENIX AZ 85007


BANK OF AMER]CA
PO BOX 8 510 01
DALLAS TX 75285


BUREAU OF MED ECONOMICS
326 EAST CORONADO ROAD
PHOENIX    AZ 85004

CAPITAL ONE
PO BOX 30285
SALT LAKE CITY UT 84130

CAPITAL ONE
PO BOX 30281
SALT LAKE CITY UT 84130

CONNS
PO BOX 960061
ORLANDO FL 32896


CREDIT CONTROL, LLC
5757   PHANTOM DR
STE 330
HAZELWOOD MO 63042


CREDIT F]RST NAT IONAL    AS SOC   ]AT ] ON
PO BOX 81315
CLEVELAND OH 4 4181


CREDIT    ONE
PO BOX 98872
LAS VEGAS NV 89193

CREDIT ONE BANK NA
PO BOX 98875
LAS VEGAS NV 8 9193


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NINO, LOUIS and DEENA -


GURSTEL LAW FIRM PC
9324 E. RAINTREE DRIVE
SCOTTSDALE AZ 85260


HAWKEYE ADJUSTMENT
23OO PIERCE ST
S]OUX CITY      ]A   51104_3851

HEALTH CARE COLLECT]ONS INC
PO BOX 82910
PHOENIX AZ 85071


IRS
PO BOX 7346
PHlLADELPH]A PA 19101

KNIGHT CAPITAL FUND]NG
9E LOOCKERMAN STREET
surrE 202-543
DOVER DE 19901


LVNV FUND]NG
C/O RESURGENT CAPITAL
PO BOX 1269
GREENVILLE SC 29603


M&GSERV]CES,LLC
20624   N.   1ST AVENUE
PHOENIX      AZ 85021

MI DLAND CREDIT MANAGEMENT
PO BOX 301030
LOS ANGELES CA 9OO3O-1030


NORTH MILL EQU]PTMENT F]NANCE
5O WASHINGTON ST
lOTH   FLOOR
NORWALK      CT 06854

NORTH MILL EQUIPTMENT E]NANCE
5O WASHINGTON ST
NORWALK CT 06854




         Case 4:19-bk-08056-SHG    Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07   Desc
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NINO, LOUIS and DEENA -


PILOT FLYING J
4620 WOODLAND CORPORATE BLVD
TAMPA   FL   33614


REVSOLVE
1395 N HAYDEN RD
SCOTTSDALE AZ 85251


SELENE E]NANCE LP
9990 R]CHMOND AVE
SUITE 4 OOS
HOUSTON TX 11442


SNAP EINANCE
17 60 w 2100 SOUTH
#2656t
SALT LAKE CITY UT 84199

SPEEDCO
CREDIT EIRST
PO BOX 81344
CLEVELAND OH 44188


SYNCB /WALMART
PO BOX 965024
ORLANDO    FL 32896

WEBBANK/ EINGERHUT
6250 RODGEWOOD ROAD
SAINT CLOUD MN 56303




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Fill in this information to identify your case:

Oebtor    1             LOUIS NINO

Debtor 2                DEENA NINO
(Spou$ nlh!)            Fllst Nams


united States Bankruptry Court for the:             DISTRICT OF ARIZONA

Case number
                                                                                                                                    E    Ched( if thrs is an
                                                                                                                                         arnended filing




OfficialForm 106Sum
Summary of Your Assets and Liabilities and Certain Statistical                                           lnformation                            rzts
Be ag complete and accurate as possible. lf two married people ar6     liling tog€ther, both are equally responsible tor supplying conect
information, Fill gut all of your schedules first; then complete the infomation on this form. r ygu are filing amended schedules atter you filo
your originalfo]ms, you must fill out a new Surrrrary and ch6ck the box at the top of this pag€.

GE            Summarize Your Assets

                                                                                                                                        Youi EEgtg
                                                                                                                                        Value ofwhat          yo! own

 1.   Schedule A,/B: Property (Official Form 106N8)
      la. Copy line 55, Total real eslate, ftom Schedule A,,E].......   ...                                                             $                 155,340.00

      1b. Copy line 62, Total personal property, from Schedule A/8.                                                                     $                     ,t
                                                                                                                                                                   I,677.00

      1c. Copy line 63, Total of all property on Schedule fuEl.   .....   ...                                                           $                 167,017.00

IEE           Summarize Your Liabilities

                                                                                                                                        YoLE   llabfllt   eE
                                                                                                                                        Amount you o.re

      Schedule D: Crcditots Vvho Have Claims Securcd by Ptorydy (Offidtal Fom 106D)
      2a. Copy the total you listed in Column A, Amounl of claim, at the bottom of the last page of Part 1 ol Schedule D.       .       s                 165,060.00

3.    Schedule EE: Creditors Who Have Unscurcd C/aras (Official Form 105E/F)
                                                                                                                                                                       0.00
      3a. Copy the total claims ftom Parl 1 (priority uns€cured claims) from line 6e of Schedule E8......

      3b. Copy the totalclarms from Part2 (nonpriority unseculed claims) from lrne    6jof Schedule ElF................... ..            s                122,087.02


                                                                                                        Your total liabilities $                     2E7,147.O2


IEE           summa.ire Your lncome and Exponses

4-    Schedule l: Your /ncorne (Official Form 1061)
                                                                                                                                                                   4,792.14
      Copy your combined monthly income from ltne 12 ot Schedule 1.... .......

5.     Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                   4,917.82

lEEllE        Answer Thes6 cluestions for AdministEtive and Statistical Records

6     Are you lillng for bankruptcy under Chapters 7, 1 1, or 13?
      E No. You have nothrng to reporl on this pad ofthe form. Chect thrs box and submit this form to the court with your other scledules.
      I       Yes
7.    What kind of debt do you have?

      I       Your debts are primadly consumer debls. Consumer debls are those "incurred by an individual primarily for a personal, family, or
              household purpose." 1'l U S.C S 101(8). Fill out lines 8-99 for statistical purposes. 28 U.S.C. S 159.

      E       Your d6bts are not primarily consumer debts You have nothing to repo( on this palt of the form. Check lhis box and submit this form to
              the court with your other schedules.
 Oflicial Form 1065um                Summary of Your Assets and Liabilitigs and Cettain Statistical lntormatlon                                 page      1   of 2

Sotiware Coptnghi (c)19$-2019Besr Case, LLC   -ww   besr.rs€.@m
              Case 4:19-bk-08056-SHG                          Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                       Desc
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Oebtor   1    LOUIS NINO
Debtor   2    p55t14     11119                                                              CasF- nombe( (if known)


8.    From the Siaternent of Your Currenl rlonthly lncomei Copy your total current monthly income from Officjal Form
      122A-1 Line 11: OR, Form 1228 Line 11; OR, Form 122C-1 Line 14.


9.    Copy the rollowing special catogories of claims from Part 4, line 6 of Sched.rre E/F:

                                                                                                          Total claim
      From Part,t on Scrredure EF, cory fhe followlng:

      9a Domestic support obligalions (Copy line 6a.)                                                     s                0.00

      9b Taxes and certain other debts you owe the government. (Copy line 6b.)                            $                0.00

      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                  0.00

      9d Student loans. (Copy line 6f.)                                                                   $                0.00

      9e. Obligations arising oul of a separatron agreement or divorce that you did not report as
          priority claims. (Copy line 69.)                                                                                 0.00

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +$               0.00


      99. Total. Add lines 9a through 9f.                                                             $                  0.00




Offcial Form 106sum                                Summary of You, Ass6ts and Liabilities and Certaln Statistical lnformation        page 2 of   2

Soltwa.6 CopyrEht (c) 19S2019 B€st   Ca*   LLC   -M b€st.z* com
           Case 4:19-bk-08056-SHG                             Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                      Desc
                                                             Main Document    Page 15 of 63
 Fill in this inlormation to identify your case and this filing:

Debtor      1                   LOUIS NINO

Debtor 2                        OEENA NINO
(Sp.!se. filins)

United States Bankruptcy Court for the:                         DISTRICT OF ARIZONA

Case number                                                                                                                                                 E     Check ifthis is an
                                                                                                                                                                  amended filing



OfficialForm 106A/8
Schedule A/B:                                   Property                                                                                                         rzrs
ln each celegory, sepadtely llst and describe items. List an asset only once. ll en as!€tfr!3 ln more than one cat€gory,li3tlhe a!8etln the c.t€gory wher€you
think lt fits be3t g€ aa complete end accurate as possible.lltwo marrlad peopl€ arc liling together, both aIo equally reaPonsibl€ lor 6uPPlying conect
lnfo.m.tion, tt iro@ !pace i3 n6€ded, attach a seperate sheetto this fo.m, On the top ofany addltionel peges, write your namc and case number (lfknown).
Answer every questjon,

@f,             Desctu" e""n Re3ldence, Building, Land, or Other Real Estatc You Own or Have an lntereat ln

1   Do you own or have any l€gal or equitable intai€st in any residence, building, land, or simllar prop€rly?

    O   No. Go ro Parr 2

    I   Yes. \&here      is the propefty?




                                                                              What ls the prope.ty? che.r arrhar       +pt
         3660 EAST HASH KNIFE ORAW                                   ROAD !          sineteJamity home                             Do nol deducl ecured clarms orexemptons Put
         srreer add.6ss, d avarlable    orottEr&sorplDn                                                                            lhe amounl of any secrrred claims on Schedu/e Dl
                                                                                     Duplex or multi-unit br.,ildrng
                                                                                E                                                  Cre<titots Who Hev6 Claims Secu/ed by P@petly.
                                                                                     Condominrum or cooperatrve
                                                                                D
                                                                                E    Manufaclured or mobile home
                                                                                                                                                 the
                                                                                                                                   Current value ot           CurEnt value ofthe
         SanTan        Valley AZ 85140-0000 E                                        Land                                          entlre   pToperty?         poruon you own?
         C,iy                                 Stale            ZIP   Code       E    tnvestrnent property                                   $155,3/10.00              5155,340.00
                                                                                E    llmeshare
                                                                                                                                   Dercaibe the nature ofyoua owne6hip interost
                                                                                E    ottret                                        (such as lee 6impl6, tenancy by the entireties, or
                                                                              who has an inter€3t in the property? checr     ons   a li'e estate), if known'

                                                                                E    oebtor 1 onty                                 Equitable intorest
         Pinal                                                                  E    Deblor 2 only

                                                                                I    Oebto.l and Deblor     2 only

                                                                                                                        anorher I 85::,lliH'i" -tmunitv
                                                                                                                                                                    Pmpertv
                                                                                E    Ar basr one or the debrori and
                                                                              other infometion you wlah to add aboul this item, such as local
                                                                              prop6rty ldentifi crtlon number:




2.      Add thg dollar value ot the po,tion you own for all ol your entries ,rom Part 1, including any entries for
        pag6 you havE attached tor Part 1. Write that number her9.........                                                                                         s'r55,340.00

@               oescaue vourvetrtctes

Do you own, lease, or havc legal or equitable interest in any vehicles, whethGr th6y arB registered or not? lnclude any vehicles you own that
someone else drives. lfyou lease a vehicle, also reporl I on Schedule G: Executory Contracts and Unexpired Leases.




OfficialForm 106AJB                                                                Schedule A/B: Property                                                                       Page    1


soft*arc copyfighr (c)   1   996-201 9 B6sl   Case tLC   -   w*w beslcae @m
                 Case 4:19-bk-08056-SHG                                  Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                             Desc
                                                                        Main Document    Page 16 of 63
Debtor          1      LOUIS NINO
Debtor          2      DEENA NINO                                                                                                Case number fll krown)

      Cars, vans, trucks,            t actors, spon utility vehicles, motorcycles

     E       tto
     I       Yes


                                                                                                                                        Do not deduct secured claims or exemplrons. Put
  3.1 Make:                FORD                                       Who has an Interest ln the property? checr on6
                                                                                                                                        lhe amount ol any secured clarms on scred!/e Dr
               Model: F-i50                                           El Deblor      1 only                                             Creditors Who Have Claims Securcd by Proryrly.
               Year        2OO2                                       D     Deblor 2 only
                                                                                                                                        Current value ol   the     Cur€nt value ofthe
               Approximate milea9el                    220000         I     Debtor   1    and Deblor 2 only                             entlrc property?           poruon you own?
               Olher informalion:                                     E     At least one of the deblors and anolher


                                                                      I ch*k         if   thi" i"               prop€.ty                         $t,429.00                   $1,429.00
                                                                                                    "or.unlty

                                                                                                                                        Do notdeduct seorred daims or etemptions. Put
  3   2 Make               TOYOTA                                     Who has en lnterest in the property? che<r           on6
                                                                                                                                        Ele amount ol any sedrred claims m Sclteduie Ol
               Model. RAV4                                            E Oeltor t onty                                                   Crcdito6 who Have Claims Secued by PtoQtty.
               Year        2004                                       E Debtor 2 only                                                                 the
                                                                                                                                        Curent valuo ot            Current yalue of th6
               Approximate mileagel                    2r0000          I    Debtor I and Debtor 2 only                                  enure   property?          poruon you own?
               Olher infirrmation.                                    E     At bast one oflhe debtors and another


                                                                       I    Ch"ck It      fri" i"               property                         $3,068.00                   $3,068.00
                                                                                                    "or.unlty


4. Watercraft, aircraft, motor homss, ATVS and other recreational vehicles, other vehlcles, and acccssories
     Exampiosr Boats, trailers, motors, personal watercraft. fishing vessels, snowmobiles, motorcycle accessories

     lHo
     E       ves



5        Add ths dollar value of the portion you own Ior all of your entries trom Part 2, including any enfies for
                                                                                                                                                                           $4,497.00
      .pages you have attached for Part 2.    write that number here...


@                  Dsrcribe Your Personal and Household ltems
Darau own or haw                     a.rt/ legal   o     uitabb imerest in any of ihe lollowing                 items?                                           curr,ont value of tho

                                                                                                                                                                 ffi*,".'#;H,..
                                                                                                                                                                 claims or exemptions.
6.    HousEhold goods and furnishings
      Examplesr Major appliances, turniture, Iinens, china, kitchenware
      E       tto
      I       Yes     Describe.....

                                                                T           c                                                                                                    9300.00


                                                                             w,w                                                                                               $4,000.00


7. Electuonics
         Examplosi Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                   includrng cellphones, cameras, media players, games
      E       r.to
         I    Yes     Describe....

                                             PRI                                                                                                                                 $500.00



Ofrcial Form '1064/8                                                              Schedule A/B: Property                                                                             page 2
Soitwar6 Copyr€ht (c) 1996-2019         BestCa$    LLC   -ww   bestes€ @m
                     Case 4:19-bk-08056-SHG                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                                   Desc
                                                                      Main Document    Page 17 of 63
Debtor'l            LOUIS NINO
Oebtor       2      DEENA NINO                                                                                 Case numbet   fi   known)

I    Collectibles o, value
      Examplesr Antiques and fgurinesi paintings, prints, or other artworki books, pidures, or other ad objeds; stamp, coin, or baseball card colleclions;
                other colleciions, memorabilia, colledibles
     I     t'to
     D Yes         Describe.....

9. Equipment lor spods and hobbies
      Examples Spods, photographic, exerose, and other hobby equipmenti bicycles, pool tables, golf clubs, skrs, canoes and kayaks; carpentry tools:
                      musical instruments
     lNo
     E Yes.        Describe....

10. Fiiearms
          Examplesr Pistols, rifles, shotguns, ammunition, and related equrpment
     lruo
     D Yes         Describe.....

11. Clothos
          Examples: Everyday clothes, furs, leather coats, designer wear, shoes, ac@ssories
     E     tto
     I     Yes. Desqibe        ....


                                                WOTIENS CLOTHING                                                                                           $60.00


                                                                                                                                                           $80.00


                                                                                                                                                           $80.00


12    Jewelry
          Examples: Eueryday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     I     tto
     E     Yes. Describe.....

13- Non-farm animals
    Examplesr Dogs. cais, birds, horses
     EHo
     I     Yes. Describe        ..   .




                                                3 DOGS                                                                                                     s90.00


14. Any other personaland household items you did not already list, including any hcalth aids you did not list
   I tto
   E Yes. Grye specific information.....

    15.   Add the dollar value ol all of your entries from Parl 3, including any ent.ies for pages you have attached
          for Pari 3. Write that number here .............,                                                                                         $5,130.00




                                                                   interest in any o, tha
                                                                                                                                           podion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

16    Cash
          Examplesr Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      !    tto
      E    Yes


Offcial Form '106A/8                                                            Schedule    AJE]:   Property                                                 page 3
Softvre CopyrEhl      (c)   1952019      Eest   Cae   LLC   -Rtvb6st@e   @m
                  Case 4:19-bk-08056-SHG                                  Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                          Desc
                                                                         Main Document    Page 18 of 63
Debtor     1      LOUIS NINO
Debtof     2      DEENA NINO                                                                                              Case number f, krown)

,l7. DeposiE of money
        Examples; Checling, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other srmilar
                  institutions- lfyou have multiple accounts w[h the sarne institution, list each.
   E     tto
   !                                                                             lnstitution name:
         Yes............. ..   . ....

                                              17,1,     CHECKING                 BANK OF AMERICA                                                                     $50.00


18. Bonds, mutual funds, or publicly traded stocks
        Examplesr Bond funds, investment accounts wtth brokerage frms, money market accounts
   luo
   Eves.....                                        lnstilution or issuer name

19 Non-publicly tradod stock                   and interests in incorporated and unincorporated businesses, includlng an interest in an LLC, partnership, and
        ioint venture
   ENo
   I     Yes. Give specific information about them.......
                                                Name of entity:                                                            % of ownershrp:

                                                LDN TRANSPORT, LLC
                                                DEFUNCT AND NOASSETS                                                            100
                                                                                                                                ]UU          0/o
                                                                                                                                                                       $0.00


20. Govemmsnt and corporate bonds and other negotiable and non-negotiable instruments
        Negoliabte instruments include personalchecks, cashiers' checks, promissory notes, and money o.derS.
        Non-negotiable instrumerts are those you cannot lransfer to someone by signing or delivering them.
   !     tto
   E     Yes. Give specrfic information about them
                                      lssuer narne:

21. Retirsmsnt or pension accounts
        Examplesr tnterests rn lRA, ERISA, Keogh, 401(k), 403(b), thrifr savings accounts, or other pension or profit-sharing plans
    !    tto
   E     Yes. List each account separately.
                                              Type oI   account:                 lnstitution name:

22. Security deposits and p.epayments
        Your share of all unused deposits you have made so that you may continue service or use from a campany
        Examplesr Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunrcations companies, or others
    I    tto
    E yes....      ... ..   .....   ..                                           lnstitution name or individuali

23. Annultigs (A contract for a periodic payment of money to you, either for lfe                 or for a number of years)
    !    tto
    D.fes       ...........              lssuer name and description

24. lntsrestg in an education lRrA, in an account in a qualified ABLE program, or under a qualified state                             tuition program.
    26 U.S.C. SS 530(bX1), 529A(b), and 52g(bx1).
    I    tto
    E Ves.............                   lnstitution name and descnptron. Separately flle the records of any interests l 1 U.S.C. S 521 (c):

25. Trusts, equitable or future inGrests in property (other than anything listed in line                      'l   ),   and rights or powers exercisable for your benefit
    INo
    E Yes        Give specific information about them...

26. PatenB, copyrights, trademarks, trade sectets, and other inlellectual prope.ty
        Examples lnternet domain narnes, websites, proceeds ftom royalties and lic€nsing agreements
    INo
    E) Yes. Give speofrc information about them...




Offcial Form 'l06AJB                                                        Sciedule A/B: Property                                                                     gage 4

Sofrmrc CoprrEhr (c)    !   996-201 9 Besl   Ca* LLC 9w beslre    @m
               Case 4:19-bk-08056-SHG                               Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                           Desc
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Debtor'!           LOUIS NINO
DebtoT       2     DEENA NINO                                                                                      Case numbet (if known)

27    Licenses, ,ranchises, and other general intangibles
       Examplesr Building permits, exclusive licenses, cooperative association holdrngs, lquor licenses, professional licenses
      lNo
      E    Yes. Give specific information about them..

iloney or property owed to           you?                                                                                                   Cursnt value of the
                                                                                                                                            portion ygu own?
                                                                                                                                            Oo not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
      IHo
      E Yes      Give specific inlormation about them, inctuding whether you already filed the returns and the tax years...



29. Family support
          Examples Pasl due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      I  tto
      ElYes. Give specrfic inlormation            ..




30. Other amounts someone owes you
     Exanples Vnpaid wages, disabrlity insurance payments disability benefits, sicl pay, vacation pay, workers' compensation, Social Security
                      benefits; unpaid loans you made to someone else
      I    tto
      E Yes.      Give specific information..

31. lnteEsts in insurance policies
          Examplesr Health. disability, or life insurance; health savings account (HSA), credil, homeownefs, or rente/s insurance
      Eruo
      !    Yes Narne the insurance company of each policy and list its value
                                         Company        name:                                            Beneliciary:                        Surender or refund
                                                                                                                                             value:

                                         COUNTRY FINANCIAL                 TERM                          DEENA      NINO                                     $O.OO



32. Any intersst in property that is due you from someone who has died
     lf you are the beneficiary of a living trust, exped proceeds from a life insurance policy, or are currently entitled to receNe property because
          someone has died.
      lNo
      E Yes       Grye specific information..


33. Claims against third parties, wheth€r or not you have filed a lawsuit or made a demand for paymenl
          Examplesr Accidents, employment disputes, insurance claims, or rights lo sue
      lHo
      E Yes.      Describe each cJaim . -.....

34    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set of, clalms
      lNo
      E    Yes. Describe each claim. ....

35    Any tinanclal assets you did not already list
      I    tto
      E Yes       Give specfic information.


 36. Add the        dollar valuo of all ol your ontries from Part 4, including any entrles for pages you have attached
          for Part,l. Write that numbcr here.....,.........                                                                                             s50.00


@            oescrtoe   loy sush6s-Related Propefty You own or           Haye an lntoest ln. List .ny 16.l estate in Pert 1.

37.   Oo   you own o. heve any legal or    eq u   ltable lnterrst in any businesr-related proPe.ty?
   E tto Go to Parto
Oftcial Form 1 064/El                                                    Schedule   NB: Property                                                               Page 5
Sofisare Copynghl (c)1952019 B6st    Ca$   LLC    -ww bestGe   @m
                 Case 4:19-bk-08056-SHG                          Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                       Desc
                                                                Main Document    Page 20 of 63
Debtor 1               LOUIS NINO
Debtor 2               DEENA NINO                                                                                                          Case number      (if known)


  !     Y""      Go to hne 38.


                                                                                                                                                                         Curr€nt value of the
                                                                                                                                                                         portion you own?
                                                                                                                                                                         Do not deduct secured
                                                                                                                                                                         claims or eremptions.

38. Accounts rec€ivable or commissions ygu already eamed
   ! tto
   E Yes. Describe.....

39. Office equipment, tumishings, and supplies
        Examplesr Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, eleclronic devices
   I     t'to
   E     Yes. Describe.....


40. lrachinery, fixtures, equipment, supplies you use in business, and tools o, your trads
   lHo
   E     Yes. Describe.....


4'1. lnventory
   lNo
   E Yes              Describe.....


42. lnterests in partne6hips orioint ysntures
   lNo
   E Yes.             Give specific information about them
                                                                                                                                            o/o
                                             Name ol entity:                                                                                      of ownership'


43 Customer lists, mailing llsts, or other compilations
  !Ho
  EI Do your llats includ6 personally ldentiflable lnformation (as                   delSned rn   1   I   U.   S.C. S   1 O 1   (4 1A))?



                  I     tto
                  E     Yes. Describe.....


,{4. Any business-related property you did not al,eady list
    Druo
    I    Yes. Grve specific rnformation ....



                                                LDN TRANSPORT, LLC BANK OF AMERICA CHECKING ACCOUNT
                                                (OVERDRAWN)                                                                                                                               $0.00



 45.    Add the dollar value ot all ot your entries from Part 5, including any entrios for Pages you have attached
        for Part 5. write that number hers...............                                                                                                                              s0.00


              D6crlbe Any Farm- and Commerclal Flshing-Related Property You Own or Have an lnteresl ln.
                lfyou own    or have an inlerest rn farmland, list it in Part   1




46. Do you orvn or hav6 any legal or equitable interest in any farm- or commercial fishing-related property?
        E   No    Go to Pad7.

        I   Yes. Go to line      47

                                                                                                                                                                         Cu[ent value ot the
Official Form 106AJB                                                                Schedule A/B: Property                                                                                 page 6
Sonwarc Copynohr (c) 1996-2019 Besl        Cae, Lrc   -M besree com
                 Case 4:19-bk-08056-SHG                                Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                                           Desc
                                                                      Main Document    Page 21 of 63
 Debtor         1       LOUIS NINO
 Debtor         2       DEENA       NINO                                                                             Case numbet   (it known)


                                                                                                                                                    portion you own?
                                                                                                                                                    Do not dedud sec.ured
                                                                                                                                                    claims or exemptions.

47. Farm animals
             Examples: Livestock, poultry, farm-raised fi sh
         E    t'to
         I    Yes................



                                          2 OONKEYS.        I   PIG, 1,I CHICKENS.          I   COW                                                             92,000.00


48. Crops.+ither growing or harvested
         I    tto
         E    Yes. cive specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
         I    tto
         E    Yes................


50. Farm and fishing supplies, chemicals, and feed
         lNo
         E    Yes. ..............

51   .   Any farm- and commercial lishing-related property you did not already list
         luo
         E    Yes. Give specific information.....



52.          Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
             for Part 5. Write that number here .,.....,.....,                                                                                               $2,000.00


El                      O"""ril"    AJI Property You Own or Have an       lnterest in That You Did Not List Above

53. Do you haye othe, property of any kind you did not already list?
             Examplesr Season tickets, country club membership
         I    tto
         E    Yes. Give specific information.........


54.          Add the dollar value of all of your entries from Pad 7. Write that number here                                                                      $0.00


@                     li"t   ttr" totals of Each Part of this Form

55-          Part 1: Total real estatr, line 2                                                                                                               s155,340.00
55.          Part 2: Total vehicles, line 5                                                           $4,497.00
57.          Part 3: Total personaland household items,               line15                          $5,130.00
58           Part 4: Total financial assets, line 36                                                     $50.00
59.          Part 5: Total business-related property, line 45                                             $0.00
60.          Part 6: Totaltarm- and fishing-related property,                line52                   $2,000.00
61.          Part 7: Total other property not listed, line           tt                    +              $o.oo

62. Total prsonal property. Add lines                    56 through       61...                       $11,677.00    Copy personal property      total          $'11,677.00

63.          Total ot all property on Schedule A/8. Add line 55 + line 62                                                                                 s167,017.00




Ofiicial Form 1064/8                                                            Schedule A/Ei: Property                                                                page 7
software coprnght(c) 1s€e2019 Besl cas€ LLc          -wb€sles€       @m
                    Case 4:19-bk-08056-SHG                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                       Desc
                                                                     Main Document    Page 22 of 63
 Fill in this information to identafy your casel

 Debtor   1                LOUIS NINO

 Debtor 2                  DEENA NINO


 United States Bankruptcy Court for the:          DISTRICT OF ARIZONA

 Case number
                                                                                                                                E]   Checl if thrs is an
                                                                                                                                     amended fling


OfficialForm 106C
Schedule G: The Property You Claim as Exempt                                                                                                               4t19

Be as complete and accurate as possrble. lf two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule NB Propedy (Official Form 106A,/8) as your source, hst the property that you claim as exempt. lf more space is
needed, fill out and attach to this page as many @pies ot Pad 2: Additioral Page as necessary. On the top of any addfironal pages, wrile your name ancl
case number (if known).

For each item ot propgrty you claim as ex6mpt, you must specify the amount o, th€ exemption you claim. One way ol doing so is to state a
specific dollar amount aE exempt Altematively, you may claim the full falr markst value ofthe property being exempt6d up to ths amount of
any applicable statutory limit. Some exemptions--cuch as those for health alds, rights to lBceive certain benefits, and tar€rempt rgtirgment
funds-fiay be unllmlted in dollar amount However, if you claim an exemptlon o, i00% of fair market value under a law that limits the
exemption to a palticular dollar amount and the value of the prop€rty ls detsrmined to exceed that amount, your exemption would b€ limited
to the appliqable statutory amount

EEM ldentifv the Proportv You claim as Exempt
 . \rulrich sot o, gxemptions ar! you claiming? Check one only, eveo it yout s@use is filing with you.
 1


    I You are clarming state and llederal nonbankruptcy exemptions. '11 U.S.C. S 522(bX3)
      E   You are clarming federal exemptions. 11 U.S.C. S 522(bX2)

 2.   For any proporty you list on Schedure        L/8 that you claim as exempt, fill in ths infotmation below.
                                             on
      Brlol dercalpdon ol the proparty and lino         Curenl yalue ot  l,lo   Amount ot tha axempdon you     clalm     Specmc lawa lhal allow oxomptlor
      Scn.dsr€ ,/t/B th.t lld. $l!    properly          ponion you own
                                                        Copy the value from     Check only one box lot each exemption.
                                                         Schedule fuB

      3660 EAST HASH KNTFE                 DRAW              $155,3,0.00        I                       gt5o,ooo.oo Ariz       Rev' Stat' S 33'r101(A)
      ROAD San Tan Valley, Az 85140
      Pinal County                                                              D    1oo% of fair market value, up to
      Line from Scnedu/e A/B:        l.l                                             any applicable statutory limit


                                                                                                                               Rev. Stat.5 33-r125(E)
      2002 FORD F-150 220000 miles                              $r,429.00       !                          $6,000.00 Ariz.
      line fiom Sdedule NB: 3.1
                                                                                E    1oo% of fan market value, up to
                                                                                     any applicable statutory limit

                                                                                                                               Rev. Stat.5 33-1125(E)
      2004 TOYOTA RAV4 210000 miles                             $3'068    00 I                             S6,000.00 Ariz.
      l,^e    tto,.n schedute    AtB.3-2
                                                                                E    IOO% ot tair ma*et value, up to
                                                                                     any applicable statutory limil


      DESK, BED, TABLE, CHAIRS,                                   s300.00       I                             S3OO.OO Ariz. Rev. Stat       S 33-1123
      Lrne fiom Sch€du/e A/B: 6.1
                                                                                E    too% of fair market value, up to
                                                                                     any applicable statutory limit


      coucHES, cHArRs,               w, w   STAND               $4,OOO.OO       r                          $4,OOO.OO Ariz. Rev. Stat. S 33-1123
      Line    t   otn Schedule   A/B:6-2
                                                                                D    tOo% of fair market value, up to
                                                                                     any applicable statutory limit




Official Form       106C                         Schedul. C: The Proporty You Claim as         Exempt                                                page   1   of 2
So{tEre Copynght (c) 1962019 Besr    ca* LLc wwbest@e@m                                                                                        Eest Cas€ Sanktuplcv
                  Case 4:19-bk-08056-SHG                 Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                      Desc
                                                        Main Document    Page 23 of 63
Debror   1   LOUIS NINO
Debtor   2   DEENA NINO                                                                                    Case number 0f known)

     Briot d€cr@on of th! plgparty and llno on              Cunaot ralue ot   the    Amount of the exompiion you      cLlm         Sp.cffic   l!w' tnn   .lld   ox.mptlon
     ScrDdur.4,8 thrt lbtl thl. pmp€rty                     portlon you own
                                                            Copy the value   fro.n   Chec* onty one   bx   tot eech exenption.
                                                            *hedule tu8
     PRINTER, COMPUTER, CELL
     PHONES
                                                                      $500.00        r                               $500.00
                                                                                                                                   Ariz. Rev. Stat. S 33-1123

     Line ftom Schedule AJB:7 .1                                                     tr   100% of fair market value, up to
                                                                                          any applicable statutory limit


     WOMENS CLOTHING                                                                                                               Ariz. Rev. Stat.       S 33.1125(1)
                                                                       $80.00        T                                 sE0.00
     Line fiorn Schedule AJB. '11.1
                                                                                     tr   '100% of fair maftet value, up to
                                                                                          any apphc€ble statutory limit


     MENS CLOTHING                                                                   I                                 $80.00
                                                                                                                                   Ariz. Rev. Stat.       S 33-1125(1)
                                                                       $80.00
     Line ftorn Sdtedule     AIB 1'1.2
                                                                                     tr   100% of lair markel value, up to
                                                                                          any applicable statutory limit


     JUNIOR WOMENS CLOTHING
     Line from Schedu/e A/B: I 1.3
                                                                       $80.00        r                                 $80.00
                                                                                                                                   Ariz. Rev. Stat.       S 33-1125(1)

                                                                                     tr   100% of fair market value, up to
                                                                                          any applrcable stalutory limit


     3 DOGS                                                                          I                                 s90.00      Ariz. Rev. Stat.       S   33-1125(tl)
                                                                        s90.00
     Line fto,]' Schedule A/B: 13.'l
                                                                                     tr   100% ol fair market value, up to
                                                                                          any appftcable statutory limit


     CHECKING: BANK OF AMERICA                                                       I                                 s50.00
                                                                                                                                   Ariz. Rev. Stat. 5 33-1126(AX9)
                                                                        s50.00
     Line fiom Schedule A/B: 17         .1
                                                                                     tr   '100% of fair market value, up to
                                                                                          any applicable statutory [mit


     COUNTRY FINANCIAL TERM                                               $0.00      I                                  $O.OO Ariz. Rev. StaL             S 20-1131
     Beneficiary: OEENA NINO
     Line lrcm Schedule      A./B . 31 .1                                            tr   100% of fair market value, up to
                                                                                          any applicable statutory limit


     2 DONKEYS,
     cow
                        I   PIG,   II   CHICKENS,       1
                                                                    $2,000.00        r                             $2,OOO.OO Ariz. Rev. Stat S 331125(3)
     Line fiom Schedule AlB . 17 .1                                                  tr   100% of tair market value, up to
                                                                                          any applicable statutory limit


3.   Ars you claimlng a homestead exemption of more than $170,350?
     (Subjed to adjustment on 4101122 and every 3 years afler that for cases filed on or after the date of adjustment.)
     lNo
     E Yes Did you acquire the property              covered by the exemption within 1,215days before you filed this case?
        DNo
        E Yes




Offcial Form 106C                                      Schgdulg C: The Property You Claim as Erempt                                                                page 2 ot 2
sonwe    coprnghr (c) 199G201S Sesl Cas€ LLC   -*w   b€si€se @m
             Case 4:19-bk-08056-SHG                          Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                                Desc
                                                            Main Document    Page 24 of 63
    Fill rn this informatron to identify your case:

    Debtor    1               LOUIS NINO

    Debtor 2                  DEENA NINO


    United States Bankruptcy Coud for the:                   DISTRICT OF ARIZONA

    Case number
                                                                                                                                                 E   Check ifthis is an
                                                                                                                                                     amended filing


Official Form 106D
Schedule D: Greditors Who Have Glaims Secured by                                                                           Propefi                                   12t1s

B€ as comptete and sccurate as possible. lf two manled people arg flling together, both are equally respon3lbls tor rupplying corect information.ll more 3peco
is ne€d€d, copy the Additional Page, fill it out numberthe entrles, and attach ll to this fom. On the top ol eny a.tdltlonal Pages, wrlte your name and case
number (i, known).
1. Do any         cl?dltor! hsve claims secured by your property?
         E   No Check thE box and submit this form to the coun with your other schedules. You have nothing els€ to report on this form.
  !          Yes. Fill in allof the information below.

EEd                 List All secured claims
                                                                                                                       column   A       column I          Colunn C
    2. Llst all aocurod ctatmr.lfa creditor has more than one secured claim, tisl lhe credftor separalety
                                                                                                    As
    for each claim. ll more than one qedilor has a particular claim list lhe olher creditors in Part 2.   Amount ol             clelm Value o, colleteral Un3ecuted
    much as possible, list the c.laims in alphab€tical order according to the credilo.s name.                                          th.t suPPons this
                                                                                                                       ?":"f:fgli:l"t5                    i.#"
I   z.t-l   COtttlS                                      Describo the proporty that securcs the claim:                     $3,272.00           $4,000.00           $0.00
                                                        'aOI,CHES, CHATRS$/fl SUHo
-c,€d;i-                                                l----"--''"'-'^'--l                                        I


                                                                                                                   I



                                                         As ofthe d.t6 you flle, the claim     15: Checr allthar
            PO BOX 96006r
            Orlando, FL 32E96                            E   cont'ngent
            Numb€r Srset Cty. Srare s Zp     Cod€ E Unliqurdated
                                                         E   otsputeo
    YYho ow9g       ihe dobt? Chect     one.             NatuE of llen. Check all lhat apply.
    E   Debtor 1    only                                 !   An             you   ,"de   {such as mortgage or secured
    E   oebtor 2    only                                      car"g|'""-"nt
                                                                  loan)

    I   Oebtor     I and Debtor   2   only               D   Sblutory len (sucn as lax lien, mechanic's llen)
    E At least one ol the debto6 and another E               Judgmenl lien irom a lawsull
    I Check lfthla ctatm ret.tes to a        E               Other (including a right to otfset)
         communlty dobl

    Date debt      wa.   hcuned 7-2016                           Last 4 dlglb ol account     number 9682




    Official Form     1O6D                               Schedule D: Cteditors Who Have claims Secured by                  Ptopsrty                                 page 1 ol 2
    softwaro coptrEhl (c) t99&2019 Besl   Ca*   LLC -   ww besl@ c6                                                                                           B€sl Case Eankrlplcv

                   Case 4:19-bk-08056-SHG                             Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
                                                                     Main Document    Page 25 of 63
Debtor    I    LOUIS NINO                                                                                     Cas€ number (i kno*n)
               FiEl   N.Ee                   Mddle   N.m€                       Lasl Name

DebtoT    2    DEENA NINO
               Fi6l   Nme                    Mddle   Name                       L.sl Name


p7] seleN e rtHalce te                                 Desc.ibe the propeTty thai socur€3 the      clalm:             $161,788.00 $155,340.00            $6,448.00



       9990 RICHMONO AVE
                                                       Ar oftlle date you file, the clalm i!: Ch€.k.rrth6r
       SUITE 4OOS
       Houston, TX           77042                     E    conr,ns"nt
        N(mbr Srrer.     Crry Slate & Zip   Code E Untiqudated
                                                       E    Disputed
Who owes the dobt? Check             one               Naturc ot li6n. Check all thal apply
D oebtor      1 only                                   I   An             yor   r"de   (such as mortgage or secured
O Debtor      2 only                                        car"g,"arnunt
                                                                loan)
I    Debtor 1 and Oebtor 2 onv                         E    Sbtutory hen (such as tat hen, mechanic's lien)
E    At basl one ol the deblors and         another E       Judgment lien lrom a tawsuit
I    Check ffthis claim relatea to          a          E    Other (includrng a rEht to otfset)
      communlty debt

Daie debt rvas        incuned 6-2007                            Last 4 dlgits of account    number 60


    Add the dollarvalue olyou. entrios in Column A on ihis page. write thrl numbe. here:
    ll lhis i3 the l.3t pego olyou.lorm, add the dollar value totals from all page3.
    Wr(e that numberhere:                                                                                                  $16s,060.00

GIEDI         List Others to Be Notified ,or a Debt That You Already Listed
U6e this page only il you h.va oth€rs to b€   notlfed atout your bankiuplcy tor a debl that you alloady lltled ln Part 't. For ex.mple, ir a collecflon agency i3
trying to collect lIom you for6 debt you owe to 6om@ne elae, llltthe crEdiior ln Pad l,.nd then lirt tha collection sgency her8. Shlla.ly, I you haYe more
than one c.Editor tor any ot the debta Urat yor, llsted in Pert l, list the.dditional crrdltoE hete. l, you do not haye addiuonal Peraona lo bg notified foi any
debb in Part l, do not fill out or lubmit this p.ge.




Officral Form     106D                  Additronal Page of Schedule D: Credltors Who Have Claims Secu.ed by Property                                       pale 2 ot 2

Sonw{e CopyrEhl (c) 1996-2019 Bs3tCa*. LtC           -w*   b€st€s€   cm
              Case 4:19-bk-08056-SHG                                  Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                               Desc
                                                                     Main Document    Page 26 of 63
 Fill in this information to rdentity your case:

 Debtor'l                          LOUIS NtNO

 Debtor 2                          DEENA NINO


 United States Bankruptcy Court for the:                 DISTRICT OF ARIZONA

 Case number
                                                                                                                                                  E   Check if this is an
                                                                                                                                                      amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12J15
ge as complete and accurate as possible. Uso Part 1 fo. cGditors with PRIORITY clalmr and Part 2 forcreditoB with NONPRIORITY claims. Llst the other pany to
any executory contracts or unexpired lea36 that could result in a clalm. Also llst executory contiacB on Schedule A/B: Propo.ty (Otficlal Form 106A/8) and on
Schedute c: Erecutory Conlr.ct! and Unexpired Lesse! (Oflicl.l Form 1oGG). Oo not lnclude any credlto.s wlth pa .lty secured clalmG th.t 8rE listed in
Schedulo O: Credhols Who Havo Claims Secured by Property. lf more sp8ce ls needed, copy th6 Part you need,llll it out, numberth. enties ln t}|o boxes on the
t€fl Altach the Continuauon Page to thi! page. ll you have no illlormatlon to repo( in . Part, do not file that Pert. On lie top ol any addltlon.l Page., write your
name and case number (l[ known),

IEE        List Att of Your PRIoR|TY Unsecured claims
 l. Do eny credltoF have priorlty unsecured claims ag.inst you?
      E       No. Go to part 2

      I       ves.
 2.   Li3t att olyour priority unaecured clrims. tf a qeditor has rnore than one priority unsecured claim, list lhe creditor separalely br each daim. For each c-laim lisled
      irentify wtl;t type of c.laim it as ll a claim has bo$ prioriv and nonpriority amounts, list that darm here and shor. bolh priority and nonprio.ily amounls. As muci as
      possibte, list be claims an atphabetical order according to the credrto/s name. ll you have more than lwo pnority unsecured claifiE. fll oul lhe Contnuation Page of
      Part 1 lf ftore than one creditor holds a particrJlar claim, list lh€! other creditors in Part 3.
      (For an explanalion of each type olcla'm, see ihe instruclaons      l)r this fom   in lhe rnstruction booklet )
                                                                                                                            Total   clalm     Prio.ity        NonPriority
                                                                                                                                              amount          amount

               ARIZOT{A DEPARTMENT OF                                                                   UNKNO
               REVENUE                                              Last 4 digiE olaccount       number WN                          Unknown       Unknown           Unknown
              @                                                                             lncurEd?
               1600 WEST MONROE STREET                              When was the debt                        UNKNOWN
               Phoenix, AZ 85007
                                                                    As ofthe dat€ you file, lhe claim is: Check all that epply
          Who incuned the debt? Check one                           E Contingent
          E    oebtor   t   onty                                    E Unhqudaled
          E    Debtor 2 only                                        E Disouteo
          I    Debtor   1 and Debtor 2   only                       Type ct PRIORITY uniecurod claim:

          ElAt bast     one of the deblors end another              E   Domestic supporl obligations

          I    Check t, this claim is for   a commun     y   debt I     Tates and cerlain other debts you owe the governmenl

          ls the claim subject to ofl3et?                           E   Cla ms for dealh or personal iniury whrle you were inloxical€{

          lHo                                                       E   other. speoty
          E    ves                                                                         NOTICE ONLY




Otficral Form 106 EF                                         schedule E/F: Credltors Who Have Unsecured Claim3                                                       Page 'l of 14
Sofivar€ CopyrEhl (c) 1 996-2019 Best case      Ltc-wvb.stcecom                                                     25499
                Case 4:19-bk-08056-SHG                             Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                             Desc
                                                                  Main Document    Page 27 of 63
Debtor       1      LOUIS NINO
Debtor       2      DEENA NINO                                                                                             Case number    (   knon)


                                                                                                                     UNKNO
              tRs                                                                 La3t 4 diglt! of account    number WN                    Unknown             Unknown               Unknown
             Tnority-a'€df6rt Name
              PO BOX 7346                                                         when was the debt       Incur€d?       UNKNOWN
              Philadelphia. PA 19101
              Number Slreel City Slrte Zip Code                                   As ofthe date you file, the claim is: Check allthal apply
       Who incured the debt? Checl one                                            E Contrngent
         E    oebtor r onty                                                       E untrqurdated
         E    Debtor 2 only                                                       E Disputed
         I    Oebtor 1 and Deblor 2 only                                          Type o{ PRIORITY unsecurEd claim:

         E    At bast one olthe debloE and another                                E   Domestic suppon obligatons

         !    Check ifthls clalm is lor           a communlty debt                I   Taxes and cerlain other debts you owe the government

       ls the claim subject to offaet?                                            E   Chims for deab or personal injury h,hrle you were rntoxEated

         !No                                                                      E   other speory
         E    ves                                                                                         NOTICE ONLY

l!F,'fI             ust   ltt   ot Your NONPRIORIw Unsecured Claims
     Do any         crcdltorr have nonp.iority unsecured claima agalnstyou?
     D       No You have nolhing to repon               in this   parl Submit lhis lorm    to the court with Your olher schedules.


     I       ves.

     Llat attofyour nonprlodty unrecu.ed clalms in th6 slph.b€lical order ol thg c.Edito.who holds each cltim. lfa cjeditor has more lhan one nonpdority
     unseorred cjaim, hst the creditor separalely for each claim. For each claim listed, identify what type oldaim il is. Oo noi list claims akeady induded in Part 1. lfmore
     than one credftcr holds a particrlar daim, list he oher qediols in Parl3 lf you have more han thee nonpnority uns€cured claims lillout the Contrnuat@n Page ol
     Pen 2
                                                                                                                                                                       Tot l claim

              ALLIED INTERSTATE                                                       Last 4   digli. of account number 718l                                                         t733.93
              Nonpnority Credilo/s Neme
              PO BOX 19326                                                            when was the debt     incuned?          UNKNOWN

                                                                                      As   oftho date you llle,lhe claim is: Chect allthal apply
              !flho incuned thc debt? Check one
              E     Debtor 1 only
                                                                                      E Contingeni
              D     Debtor 2    onv
                                                                                      E Unlqudaled
              I     Deblor 1 and Deblor 2 only                                        E Disputed
              E     At basl one ofthe debtors and anolhe.                             Type ot NONPRIORIW unsecured claim:

              I     Check il this claim      13   for   a community                   E    student tmns
              debt                                                                    E  Oblrgatons arising out of a separation agreement or duorce thatyou   dd not
              ls the clelm 6ubiectto offset?                                          repon as pnority claims

              lro                                                                     El   Debts to pension or prom-sharing plans, and olher similar debts

              E v".                                                                   I    otner Specrry COLLECTION- WALiTART




Offioal Form 106          gF                                            Schedule EIF: Credrlors Who H.ve Unsecursd Clalms                                                            Page   2   ol'lil
Softvarc Copynghl (c) 1 9s6      201   9 Besl Cas6 LLC      -Mbesi@          @m
                  Case 4:19-bk-08056-SHG                                       Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                               Desc
                                                                              Main Document    Page 28 of 63
    Debtor      1   LOUIS NINO
    Oebtor      2   DEENA NINO                                                                          Case number      (,r   k,wn)


|
    4.2     |   BANK OF           AMERICA                           Last 4 digits of account number        7889                                           i850.00
                Nonpnority Creditor's Name
                PO BOX 8s1001                                       Vlrhen was the debt    incuned?        UNKNOWN

                Number Street City State Zip Code                   As ofthe date you file, the claim is: Check allthat apply
                Who incured the debt? Check one
                E    Debtor 1 only
                                                                    E   Contingent
                E    Debtor 2 ooly
                                                                    E   Unliquidaled
                I    Debtor 1 and Deblor 2 only                     E   Disputed
                E   At basl one of lhe debtors and another          Type ot NONPRIORITY unsecur.d claim:

                I   Check    ifthis claim is fora community         E   Studenl loans
                debt                                                E  Obligations arising out of a separation agreement or divorce lhatyou did not
                ls lhe claim subjectto offset?                      reporl as pnonty clarms

                lro                                                 E   Debts to pension or profilsharing plans, and other similar debts

                E   Yes                                             I   otner specrry OVERDRAFT FEES


    4   3       BUREAU OF MED                ECONOMICS              Last 4 digita of account numb.r        '1736                                         $t,195.00
                Nonpriorily Creditois Name
                326 EAST CORONADO ROAD                              When was the debt      lncurYed? 8-2013
                Phoenix, Az E5004
                Number Slreet City State Zip Code                   As ofthe date you file, the claim is: Check allthat apply
                Who incured the debt? Check one.
                E   Deblor I only
                                                                    E]contingent
                E   Debtor 2 only
                                                                    E   Unliquidated
                I   Debtor   1   and Oebtor 2 only                  E   Disputed
                E   Al bast one of the debtors and another          Typ€ of NONPRIORITY unsecured claim:

                I   Check if this claim is for   a community        E   student loans
                debt                                                E  Obligations arising out ol a separatron agreement or divorce thal you did nol
                ls the claim subiect to offset?                     report as pdorily claims

                lro                                                 D   Debts to pension or prcllt-sharing plans, and other similar debts

                                                                                          COLLECTION- EMERGENCY
                E   yes                                             I   other specfy pROFESSIONAL SERVTCES



l4      4|      BUREAU OF MEO                ECONOMICS              Last 4 dlglE or eccount number        2050                                            $706.00
                Nonpriority Credito/s Name
                326 EAST CORONADO ROAD                              When was the debt      Incurred?      9-2013

                Number Street CiV Stale zip Code                    As ofthe date you 6le, the claim is: Check all that apply
                who incuned the debt? Check one.
                E Debtor 1 only                                     D   contingent
                E Debtor 2 only                                     E   Unliquidated
                I Debtor I and Debtor 2 only                        E   Disputed
                E At bast one ofthe deblors and anolher             Type o, NONPRIORITY unsecured claim:

                I Check if this claim is for a community            E   student loans
                debt                                                E   Ootigations arrsrng out of a separation agreemenl o. drvorce thatyou did not
                ls the claim subject to offset?                     reporl as priority claims
                I   lro                                             D   Debts to pension or prcrit-sharing plans, and other similar debts

                                                                                        COLLECTION- PREMIER EMERGENCY
                E   yes                                             I   orher.   Specfy MEDICAL SPEC




Official Form 1oB         E/F                             Schedule E/F: Credito6 Who Haye ljnsecurcd Claims                                              Page   3 or 14

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                    Case 4:19-bk-08056-SHG                      Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
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    Debtor      1   LOUIS NINO
    Debtor      2   DEENA NINO                                                                                     Case number        (d   kndn)


|
    4   5   |   BUREAU OF MED                  ECONOMICS                   L.st   4 digitE   ol eccount number         5564                                     $985.00
                Nonpaorrty Creditods Name
                326 EAST CORONADO ROAD                                     When was tho debt       Incu.red?           3-20'14

                Number Street City Slate Zip Code                          As otthe dele you file, the clalm b: Check allthal apply
                Who incured the debt? Checl one
                E   Debtor    t onty
                                                                           E   contingent
                E   tebtor    2 only
                                                                           Eluntiquidated
                I   Debtor 1 and Debtor 2 only                             E   Disputed
                O   At least one ofthe debtors and another                 Type of NONPRIORITY unaecured claim:

                I  Chec* lf this claim is for a communlty                  E   Student toans
                debt                                                       El Oblqalions arising out of a separation agreemenl or drvorce lhal you did nol
                b the claim 3ubjectio ofr3et?                              report as pnonty clarms

                Ixo                                                        E   Debt" to pen.,on    ol. profit-shanng   plans and other srmilar debts

                                                                                                COLLECTION EMERGENCY
                E v"t                                                      I   other.   speciry PROFESSIONAL SERVICE



Ej l            BUREAU OF MED                  ECONOMICS                   Last 4   dlglt! ol account number           1158                                    $1,195.00
                Nonpnonty Creditor's Name
                326 EAST CORONADO ROAD                                     when was the debt       incured?            9-20 t 3

                Number Slreet Crly Slate Zlp Code                          As ot the d.te you llle, the clalm ia: Check all that apply
                YUho   incuned the debt? Checl one
                E   Deotor    r onty
                                                                           D   contingent
                E   Debtor 2 only
                                                                           E   Unliquidaled
                I   Debtor    1   and Oebtor 2 only                        E   Disputed
                E   At basl one of the debtors and another                 Type ol IONPRIORITY unsecured claim:

                I   Chect llthis claim is ,or a community                  E   Student toans
                debt                                                       E  Obhgatons arising out of a sepalalron agreement or divorce lhet you drd nol
                ls the clelm subject to ofl!et?                            report as priodty claims

                lro                                                        E   Debts to pension or profilsharing plans, and other similar debls

                                                                                                  COLLECTION. EMERGENCY
                E   ves                                                    I   other specity PROFESSTONAL SERVTCES



lr      r-l     BUREAU OF MED                  ECONOMICS                   Lesl4 dlslt! of account number              0960                                     $860.00
                Nonpriority Creditois Name
                326 EAST CORONADO ROAD                                     when we3 th€ debt       incurred?           12-2013

                                                                           As ofthe date you file, the clalm       16: Check all   lhal aPply
                Who lncuned the debt? Check one.
                E    Debror   t onty
                                                                           E conlingenl
                E    Deutor z onty
                                                                           E Unliquidared
                I    Debtor I and Debtor 2 only                            EI Drsputeo
                E   Al bast one ofthe debtors and anothel                  Type ol NONPRIORITY un3ecurod claim:

                I    Check lf thi6 claim is for       e community          E   strdenr to"n"
                debt                                                       E  Obligatjons ansing out ol a separatron agreement or divorc€ lhet you did nol
                ls tne   chlm subjectto oflaet?                            reoort as prionty darms

                lro                                                        E   Debts to pension or pmfilsharrng plans, and other simiiar debts

                                                                                                COLLECTION- EMERGENCY
                E    yes                                                   I   orher.   speciry pRoFESStONAL sERvtcEs




    Offoal Form 106 gF                                         Schodulo E/F: Creditors who Have lJn3ecurEd claims                                               Page   4   of 14
    Sonvre Coptr8hl      (c) 1 996-2019 Best   Ca$ LLC ww    besicas€ @m
                    Case 4:19-bk-08056-SHG                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
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Debtor   1    LOUIS NINO
Debtor   2    DEENA NINO                                                                                 Case number      (ir known)



E         CAPITAL ONE
          Nonpnorily Creditods Name
                                                                    Le3t a dlgits ofaccount    nunber 4166                                                  $851.00

          PO BOX       302E5                                        u,hen wa3 the debt     incu.rbd?       7    -2015
          salr Lake citv, uT E4130
          Numb€r Sireet City Slate Zip Code                         Aa of the date you file, the clalm is: Checl all thal apply
          Who lncurred the debt? Check one.
          D   Debtor 1 only
                                                                    E contingenr
          E   Debtor 2 only
                                                                    E Unliquidared
          I   Debtor 1 and Debtor 2 only                            E Dispuled
          E                              another
              At least one ofthe debtors and      Type of IONPRIORITY                          unsecrrred clalm:

          I check itthis ctaim ts ro. a community E sludent loans
          debt                                                      E  Obligations arising oul ofa separaton agreementor divorc€ thal you did not
          ls tlle cleim subject to oflset?                          reporl as pnonty clarms

          Iro                                                       E    Debls to pension or profil-sharing plans, and other simrlar debls

          E   ves                                                   !    otner Specrry CREDIT CARO


i-ol      crprral ote
          Nonpriority Credito.'s Name
                                                                    Last a dlgits of accounl   number 7408                                                  $700.00

          PO BOX 30285                                              When w.3 the debt      lncurcd?         8-2015
          salt Lake city, uT           E4130
          Number Street Crty Slate Zip Code                         A! ofth€ date you file,lhe clalm b:     Check alllhat apply
          Who lncuned the debl? Check one
          E   oebto|I only                                          E Conlingenl
          E   Debtor 2 only
                                                                    E unrquidated
          I   Oeblor 1 and Debtor 2 only                            El   orsputed
          D   Al least one of lhe deblors and  another  TyPe of NONPRTORITY unsecured                      claim:

          I    check ifthis    claim ls for a communlty E Student loans
          debt                                                      E  Oblgalions arisrng out of a separalion agreemenl or drvorce that you   dd nol
          13 t,le clalm 3ubject to off3et?                          reporl as priodty c.laims

          !   tro                                                   E    Debts to pension or prol5l.shanng plans, and other smrlar debts

          D   ves                                                   I    orher specfy CREDIT CARD



          CAPITAL ONE                                               Last 4 dlgiE of account    numuer 0590                                                s2,200.00
          Nonpnoriiy Creditor's Name
          PO BOX 30281                                              When wes the debt      incuned?         7   -2015
          salt Lake citv, uT E4130
          Number Slreet City Slate Zip Code                         As ofthe dete you file, the clalm E: check alllhat apply
          Yfio incurYed the debt? Check one.
          E    Debtor 1 only
                                                                    El conlingent
          E    Debtor 2 only
                                                                    E    Unlrqurdated
          I    Oebtor 1 and Deblor 2 only                           E    Drspuled
          E                              another
              At leasl one of the debtors and     Iyp. ol NOI{PRIORITY unsecured                           clalm:

          ! check lfthls cleam i. for a communlty E student loans
          debi                                                      E  Obhgatons arising oul of a separation agreement or drvorce ihal you did not
          ls llle claln subjectto offset?                           reporl as pnority claims

          lHo                                                       E    Debts to pension or proft-sharing plans and other srmilar debts

          E ves                                                     !    orne..   specity CREOIT CARD




Offioal Form 106    E/F                                  Schedule E/F: Creditors Who Havo Unsecuted         Clalms                                          P.ge   5   ot   lil
sofrware copynght (c) 199+2019 Besl   Cas. LLC,   *w   best@   (m                                                                                      aest case Bak^ptcY
              Case 4:19-bk-08056-SHG                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
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Debtor   1    LOUIS NINO
DebtoT   2    DEENA NINO                                                                                  Case number (,rkrcwn)


          CAPITAL ONE                                                Last 4 digits of account   numUer 9213                                                  $279.00
         @
          PO BOX 302E5                                               When was ihe debt     incured?         7   -2015
          Salt Lake City, UT E4130
          Number Street City State Zip Code                          As ofthe date you file, the claim ls: Check all that apply
          Who incuned the deht? Check one.
          E Debtor 1 only                                            E Contingent
          E Debtor 2 only                                            E Unliquidated
          I   Debtor 1 and Debtor 2 only                             E osputed
          E   At bast one ofthe debtors and anolher                  Typc of NONPRIORITY unsecured claim:

          I   Check if lhis claim is   fora    community             E    student toans
          debt                                                       E  Obligations arising out of a separation agreement or dvorce lhal you   dd not
          ls the claim subiect to offset?                            report as priorily claims

          lro                                                        E    Oebts to pens,on or prcfit-sharing plans, and othersimilar debts

          E   yes                                                    I    other.   specify CREDIT CARD



          CREDIT CONTROL, LLC                                        Last4 digits of account    numhr       9457                                             $981.02
          Nonpriority C.editoas Name
          5757 PHANTOM DR                                            when was the debt     incured?         UNKNOWN
          sTE 330

          Number Slreel City Stale Zip Code                          As ofthe dateyou file, the claim ls: Check allthat apply
          who incu.red the debt? Check one.
          E   Debtor 1 only
                                                                     E    contingent
          D   Debtor 2 only
                                                                     E    tJnliquidated
          I   Debtor   I   and Debtor 2 only                         E    Disputed
          E   At leastone orthe debtors and another                  Type of NOiIPRIORITY unsecured claim:

          !   Check ifthis claim is for a community                  E    student loans
          debt                                                       E  OUigatrons arising out ol a separaton agreement or divorce thal you did not
          ls the clalm subject to offset?                            report as priority claims

          lro                                                        E    Debts to pension or profrlsharing plans, and other similar debts

                                                                                           COLLECTION- BUREAUS INVESTMENT
          E   ves                                                    !    other specry cROUp- CAP|TAL ONE


          CREDIT FIRST NATIONAL
          ASSOCIATION                                                Last4 digits ol account    number 7578                                                 $1,255.00
          Nonpriority Creditor's Name
          PO BOX 81315                                               when was the debt     incu.red?        2-20'16
          Cleveland, OH 44'181
          l.lumber Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incuned ihe debt? Check one.
          E   Debtor 1 only
                                                                     D    contrngent
          E   Debtor 2 only
                                                                     ElUnliquidated
          I   Debtor 1 aod Debtor 2 only                             El   orsputed
          D   At leasl one of the debtors and anolher                Type of NONPRIORITY unsecurcd claim:

          I   Check if this claim is for a community                 E student loans
          debt                                                       E o Eatrons arising      out of a separalion agreement or divorce that you did not
          ls the claim subjectto oftet?                              report as priorily claims

          Iro                                                        E    Debts to pensron o, profit-sharing plans, and other simrlar debts

          E   ves                                                    I    orher. Specify   CREDIT CARD




officral Form 106 BF                                     Schedule E/F: creclilors who Have Unsecured Claims                                                  Page   6   of   '14

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              Case 4:19-bk-08056-SHG                             Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                           Desc
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Debtor   1 LOUIS NINO
Oebtor   2 OEENA NINO                                                                                   Case number (dkr1om)


         CREDIT ONE                                                Last 4 digiE ol account    numoer 0199                                               sl,191.00
         @
          PO BOX 9E672                                             When was the debt     lncurred?        12-2015
          Las Vegas, Nv 69193
         Number Stre€t City State Zip Code                         At ofthe dat you file, the claim is: Checl     all that apply
         who incuned the debt? Check one.
          E   Debto. t onty
                                                                   E Contingent
          D   Debror 2 only
                                                                   E Unliquidated
          I   Debtor 1 and Deblor 2 only                           E oEputed
          E   At bast one ol the debtors and anolher               Type of NONPRIORITY unsocured claim:

          I  Chect if this clalm ls for a community                E    Student loans
         debt                                                      E  Obligations ansrng out ot a separation agreement or divorce lhatyou did not
         ls the claim sub.iect to otfuet?                          reporl as priorily claims

          !xo                                                      O    Debts to pension or profl-sharing plans, and other srmrlar debts

          E v""                                                    !    other specfy CREOIT CARD



         CREOIT ONE BANK NA                                        Last 4 digits ol account   number 8620                                               $1,110.00
         @                                                         when was the debt     incurred? 7-2015
          Po Box 98875

          Number Street City State Zip Code                        As   ofthe date you file, the claim i5: Check allthal apply
         who incured the d€bt? check one.
          E    Debtor   I   only
                                                                   E contingenl
          E    Debtor 2 only
                                                                   E unlrquidated
          I    Debtor 1 and Debror 2 only                          E oisputeo
          E   At bast one ol the debtors and another               Type ot NONPRIORIW unsecured cleim:

          I    Check if thls clalm     13   lor a community        E    student tmns
          debt                                                     ElObligations arising oul of   a sepa.ation agreement or drvorc€ thatyou did nol
          ls the clalm subjectto offaet?                           reporl as prionly claims

          lro                                                      E    Debts to pension or prolit'sharing plans, and olher srmrlar debts

          E    yes                                                 I    oher. specify    CREDIT CARD



          GURSTEL LAW FIRM PC                                      La6t 4 digits ol account   numOer 0618                                               $2,200.00
          N@
          9320 E, RAINTREE DRIVE                                   When was tlle debt     incuned?         UNKNOWN
          Scottsdale, AZ 85260
          Numb€r Street CiV Stale Zip Code                         A3 of the date you file, the claim is: Checl all thal apply
          Who incurred the debt? Check one.
          E    Debtor   I   only
                                                                   E contingent
          E    Deblor 2 only
                                                                   D Unliqurdated
          I    Debtor   I and Debtor   2 only                      E oisputeo
          E    Al leasl one of lhe deblors and another             Type of NONPRIORITY unaecured clalm:

          !    Check if this cl.lm ls for      a community         E    student loans
          debt                                                     E  obligalions ansing oul ota separatpn agreement or drvorce thal you    dd not
          ls the claim subiectto ofl8et?                           report as prionty claims

          Ito                                                      E    Debts to pension or profil-sharing plans, and other similar debls

          C    ves                                                 !    orner.   specry COLLECTION- CAPITAL ONE




Olioal Form 106      UF                                  Schedule E/F: Credilors Who Heve lJnaecu.ed Claims                                              Page   7   of   14

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              Case 4:19-bk-08056-SHG                           Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
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Debtor   1 LOUIS NINO
Debtor   2 DEENA NINO                                                                                    Case number       (   kno*n)


EI
D]       HAWKEYE AOJUSTMENT                                       Laat 4 digits ol account     nummr 2278                                                             $57.00
         Nonpdority Crediloas Name
         23OO PIERCE ST                                           When was the debt       incuned?          3-2016
         Sioux City, lA 5l l043E5l
         Number Slreel City State Zrp Code                        As ofthe date you file, the clelm is: Check all that apply
         Who incurred the debt? Check one.
         E Debtor 1 only                                           E   conringent
         E Deblor 2 onty                                          E    Unlrquidated
          !   Debtor 1 and Deblor 2 only                          E    Oisputed
         E    Al basl one of lhe debtors and another              Type of NONPRIORITY unsecu.od claim:

          I   Check if thls claim is lor    a communlty            E studenl toans
         debt                                                      E Oblrgations arising out of a separation agreement or divorce         lial   you did not
         h the claim subiectto off3et?                            repon as prionly clarms

          lrc                                                      E   O"bt" to pens'on   ol. profit-sharing plans, and other srmrlar   debls

                                                                                     COLLECTION- SIOUXLAND RADIOLOGY
          E   ves                                                  I   otler specrty pARTNERS


         HAWKEYE ADJUSTMENT                                       Lalt il diglts ol account numoer 2325                                                           $,148.00
         @
         23OO       PIERCE ST                                     When was the dcbt       incured?          4-2016
         Sioux Citv, lA 5110+3851
         Number Streel Crty Strate zip Code                       Ar olthe date you file, the clalm is: Check alllhat apply
         Who incured the debt? Check one.
          E    Debtor 1 onty
                                                                   E contrngent
          E    oebtor 2 onty
                                                                   E Unliquidared
          I    oebtor 1 and Debtor 2 only                          E Disputed
          D   At bast one ofthe deblors and anolher               Typ€ of NONPRIORITY unsecured clalm:

          I    Check if thls claim is for   a community            E student loans
         irebt                                                     E Obtigations ansrng out oI a separaton      agreement or divorce thal you did not
         ls the claim sublect to offset?                          repon as pnority claims

          Ilo                                                      D   O"bt" to p"n.'on o, profit-sharing plans and other similar debts

                                                                                     COLLECTION- NW IOWA ER PHYSICIANS
          E   ves                                                  I   ofter specrry MEO DATA



          HEALTH CARE COLLECTIONS                        INC       La3t. disits or.ccount numbor            1805                                                  $'r55.00
         ffi                                                      When was the debl       Incur€d?          8-20'15
          PO BOX 82910

                                                                   A. of the dete you file, the clalm i5: Check     all lhat apply

         VUho incurred    th. debt? Checl     one.

          E    Debtor 1 only
                                                                   E   Contingent
          E    Debtor 2 only
                                                                   E   Unliquidated
          I    Debtor 1 and Debtor 2 only                          E   Disputed
          E    At least one ot the debtors and another             Type of i.aOt{PRlORlTY unsecured clalm:

          I   check ifthls clalm is fora communlg                  E   student lo3ns
          debt                                                     E  Obligations aflsrng out ot a separatron agreement or divorce thatyou dd not
          ls the claim !ubiectto offset?                           report as pnonly daims

          lro                                                      D   D"bts to p"n"'on o. profilsharrng plans, and olher similar debts

                                                                                     COLLECTION. TAHIR SURGICAL CLINIC
          O    ves                                                 I   otter spec,ty 652




Offrcial Form 106    gF                                  Schedule UF: CIeditoIs Who Have unsecurBd Clalms                                                        Page   8   ol14
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              Case 4:19-bk-08056-SHG                           Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                                  Desc
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Debtor   1     LOUIS NINO
DebtoT   2     DEENA NINO                                                                                Case number       (   kno*n)



          HEALTH CARE COLLECTIONS INC                               Lasl a dlglt! o, .ccount    number 4246                                              $'r,4r6.00
          Nonp.oflty Cred,tois llar"e
          PO BOX 82910                                              When wa! the debt       incuned?        8-2013

                                                                    Ai olthe date you file, the claim is:     Check altthal apply
          Who lncuned the debt? Check one.
          O    Debtor   t onty
                                                                    E    contrngent
          E    Debtor 2 onty
                                                                    E    Untrquidared
          I    Oebtor 1 and Debtor 2 only                           D    Oisputed
          E    At leasl one ot lhe debtors and another              Type of NONPRIORITY unsecured clalm:

          I    Check ifthis clalm is for   a community              E    Student toans
          debt                                                      D  Obligations arising out of a separalion agreement or dryorce that you did nol
          E tho clalm sublectto offset?                             report as pnonty daims

          lxo                                                       E    Debts to p.n.,on o, profit-sharing plans, and olher srmrlar debts

          E    ves                                                  I    orher.   specfy COLLECTION- BANNER IRONWOOD


          HEALTH CARE COLLECTIONS INC                               La6t 4 digits of account    num*r         5026                                         $451.00
         ffi                                                        when w63 the debt       incuEed? 3-2014
          PO BOX E29r0

          Number Slreel City State Zip Code                         As ol the date you ffle, the claim is: Chect all thal apply
          Who lncured the debt? Checl one.
          E    Debtor   t onty
                                                                    E Contrngenl
          E    oebtor 2 only
                                                                    E Unlqurdated
          I    Oebtor 1 and oebtor 2 only                           E Drsputed
          E    At bast one of the debtors and another               Typ€ of NONPRIORITY unsecuned claim:

          I  Chec* lf this claim i3lor a communlty                  E    studenl toans
          debt                                                      E  Obhgations arising out of a separation agreement or dvorce lhat you   dd nol
          k tho claim subjectto offset?                             report as pnority daims

          lxo                                                       E    Debts lo p"n.,on o, profit-shanng plans, and olher $mrlar debts

          E    ves                                                  I    other specdy COLLECTION-BANNER IRONWOOD



          KNIGHT CAPITAL FUNDING                                    L.3t   4   dlglt ol.ccount nummr UNKNOWN                                             $4,200.00
         @                                                          Wh6n was the debt       incured?          UNKNOWN
          9E LOOCKERMAN STREET
          sutTE 202€43
                                                                    A3   oflhe date you file, the claim Is:   Check alllhal apply
          Who lncurDd the alebt? Chect one.
          D    oeDror   I onty                                      E cont'ngent
          E oebtor 2 only                                           E Unlrqudated
          I Oeblor 1 and Debtor 2 only                              E D6puted
          E At basl one ot the deblors and another                  Typ€ of NONPRIORITY unsecu.ed claim:

          ! Check if this claim is for a communily                  El student      loans
          debt                                                      E  Obligations erising out of a separalrcn agreemenl or d[orc€ that you did not
          ls th6 claim subJectto offset?                            report as prionty claims

           Iro                                                      E    Debls to pension or profilsharing plans, and other srmrlar debts

           E   ves                                                  l6hgr         5pecfy LOAN




Oficlal Form 106 EF                                      Schedule EIF: Cr€ditors Ylrho Have Unseculed Claimg                                              Page   I   ot'14
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              Case 4:19-bk-08056-SHG                           Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                          Desc
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Debtor    1    LOUIS NINO
Debtoi2 DEENA NINO                                                                                           Case number (irknown)


           LVNV FUNDING                                                  Last il digiG ofaccount numbe.        0r99                                           $1,191.00
           Nonpnofl ty Credilof s l tarne
           C/O RESURGENT CAPITAL                                         When was the dabt incurred?           8-20rE
           PO BOX 1269

           Numb€r Street CiV State Zip Code                              As ofthe date you file, the claim is: Check all thal apply
          Who incurr.d the debt? Check one.
           E   Debtor 1 only
                                                                         E   contrngent
           E   Debtor 2 only
                                                                         E   unliquidated
           I   Debtor I and Debior 2 only                                E   Disputed
           E   Al basl one or lhe debtors and aflother                   Typ€ of NONPRIORIW unsecured claim:

           I   Check if thls claim is      fora community                E   student loans
          debt                                                           E  Oblrgatrons arising out of a separalion agreement or divorce thal you did not
          ls the claim sub.iect to offset?                               reporl as prionty claims

           lro                                                           E   Debts to pension or profit-sha ng plans and olher similar debts

           E   ves                                                       !   other.   specrry COLLECTION- CREDIT ONE BANK


           M&GSERVICES,LLC                                               Last 4 digits ofaccount    number 9351                                                $495.41
         @
          2062 N. IST AVENUE                                             When was the debt    incuned?         UNKNOWN
           Phoenix, AZ 85027
           Number Street City State zrp Code                             As ofthe date you file, the claim is: Check alllhal apply
          Who     lncurrd the debt? Check         one.

           E   Debtor 1 only
                                                                         E Contingent
           E   Debtor 2 only
                                                                         E Unliquidated
           I   Deblor   I   and Debtor 2 only                            E Disputed
           E   At bast one ofthe deblors and another                     Type of NONPRIORITY unsecured claim:

           I   Check if this claim is      fora community                E   student loans
           debt                                                          D Obligations arising out of a separation agreement or divorce thal you did not
           ls the claim subrect to offset?                               report as priority claims

           I   llo                                                       E   Debts to pension or profit-shaing plans, and other similar debts

           E   ves                                                       I   other.   specrry MILEAGE FEES



           MIDLAND CREDIT MANAGEMENT                                     Last 4 digits o, account   number 4417                                                 $860.05
         @                                                                                    incuned?
           PO BOX 301030                                                 When was the debt                     UNKNOWN
           Los Angeles, CA 90030-1030
           Number Stre€t City State Zip Code                             Ar ofthe date you file, the cl.im is: Check allthal apply
           Who incurred       th. debt? Check     one.

           E   Debtor 1 only
                                                                         E contingent
           E   Debtor 2 onty
                                                                         E unliquidated
           I   Debtor 1 and Deblor 2 only                                E oisputeo
           E   At leaslone of lhe debtors and another                    Type ot NONPRIORITY unsecured claim:

           I   Check if this claim i6 lor      a community               E   Sludent loans
           debt                                                          E  Obligations arising oul of a separation agreemenl or divorc€ that you did not
           lB the claim     subjectto offset?                            report as prionty claims

           Ilo                                                           E   Debts lo pension or profit-sharing plans, and other similar debts

           E yes                                                         I   otner. speciry   COLLECTION. CREDIT ONE BANK




Official Form 106    gF                                       Schedule E/F: creditors who Have Unsecured Claims                                                Page'10 of 14

Sonwar€ Copynghl (c) 1 996-201   I   Best Case LLC -   ww   b€st@so @m
               Case 4:19-bk-08056-SHG                               Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                          Desc
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  Debtor 1      LOUIS NINO
  Debtor 2      DEENA NINO                                                                            Case number (dknoM)


 s)        NORTH MILL EQUIPTMENT
 bl        FINANCE
           Nonpriorily Creditors Name
                                                                 Leslil digib ol account number 4957                                                   s72,541.37

           50 WASHINGTON ST                                      l   rhen was the debt   Incuned?        UNKNOWN
           IOTH FLOOR

           Number Sreel Crly State Zip Code                      A3   orthe dete you file, the claim b: Chect alllhal apply
           YUho   Incuned the debt? Checl one.
           E    Debtor 1 onty
                                                                 E conringent
           E    Debtor 2 only
                                                                 E Unliquidated
           I    Oebtor 1 and Debtor 2 only                       E Disputed
           E    At baslone ol the deblors and another            Type of NONPRIORITY un36cured claim:

           I    Check lf this claim is   tora community          EI   Student toans
           debt                                                  E  Obligations arising out ol a separation agreemeot or divorce that you did not
           ls the clalm subiect to ofbet?                        report as priority clarms
           !lo                                                   E    Debls to pension or profitsharing plans, and olher simtlar debis

           D    ves                                              I    orner. Specrfy   TRUCK LOAN


           NORTH MILL EQUIPTMENT
           FINANCE                                               Last a digits of account    numuer 57RF                                              $'r9,539.04
           Nonpdority Cre<,itor's Name
           50 WASHINGTON ST                                      When wes the debt       lncuEed?       UNKNOWN

                                                                 As ofthe date you fle, the claim is: Checl a[ lhat appty
           Who incurEd ihe debt? Checi one.
           E    Debtor   t onty
                                                                 E    contingent
           E    Debtor 2 onty
                                                                 E    Untrquidated
           I    oebtor 1 and oebtor 2 onty
                                                                 E    Disputed
           E    Al least one ol the debtors and another          Type of NONPRIORITY unlecurcd claim:
           I   Chect if this clalm i3 fora communtq,             a    Student loans
           debl                                                  E    OblEations arising out of a separation agreement or drvor@ that you dd not
           ls the claim 3ubject to offset?                       report as pdority claims
           Ito                                                   E    Debts lo pension or profilsharing plans, and other simitar debts

           E    ves                                              I    other specify AUTO REPAIR LOAN



           PILOT FLYING J                                        Last 4 digits of account   number 0857                                                $1,039.58
          ffi
          4520 WOODLAND CORPORATE                               When was the clebt       incurred?      UNKNOWN
          BLVD
          Tampa, FL 33614
           Number Street City Stale Zrp Code                    Al ofthe date you file, the claim ls: Chect allthat    appty
          Who incu.red the debt? Checl one.
          E oebtor 1 only
                                                                E cont,ngenr
          E Deutor 2 only
                                                                E Unliqudated
          ! oebtor 1 and Debtor 2 onty                          E Dispured
          E Al bast one of the deblors and another              Type of NONPRIORITY uns€cure{, clalm:
          ! Check lf this claim is for a community              D student toans
          debt                                                  E Obligations arising    oul of a separatton agreemenl or divorce that you did not
          ls the claim subjectto otftet?                        report as prionly claims
          lto                                                   E    D"bls to pen",on o, profilshering plans, and other srmilar debts

          D    yes                                              I    o6er specrry GAS CARD




Official Form 106 E/F                                 Schedule E/F: CrEdlto.s Who Have Unsecurcd Clalma                                                 Pege 11 of 14
son*?r6 copyrEhr (c) 199c2019 Eesl case.   LLC,ffib€sl@   @m
               Case 4:19-bk-08056-SHG                       Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                           Desc
                                                           Main Document    Page 37 of 63
Debtor   1    LOUIS NINO
Debtor   2    DEENA NINO                                                                                       Case number(         kon)

         REVSOLVE                                                        Last4     digit   of account   numhr    6959                                        $r79.00
         No"pront!, Cred,tois liarne
         1395 N HAYDEN RD                                                When was the debt        incuned? l-2013
         Scottsdale, Az 85257
         Number Slreet City State zrp Code                               As ofthe date you file, the clalm     13: Check   alllhat apply
         Who ancu.red the debt? Check one.
         E    Deotor   t onty
                                                                         E    Contingent
         E    oebtor 2 only
                                                                         D    untrquroateo
         I    Debtor 1 and Oeblor 2 only                                 E    Disputed
         E    Ai least one of the debtors and another                    Type of NONPRIORITY unsecurod claim:

         I    Check    H   tnis claim is for   a community               E    student toans
         debt                                                            E  Obligatons ans,ng out ol a separaton agreemenl or divorce that you drd not
         ls the cl.im subject to ofrset?                                 report as priority c.laims

         !No                                                             E    Debts to pension or profil-shafing plans, and olher similar debts

                                                                                                  COLLECTION- BANNER HOSPITALISTS'
         E    yes                                                        I    other.   specity GATE WAy



         SNAP FINANCE                                                    Last4 diglt! ofaccount         numuer UNKNOWN                                      Unknown
         @                                                                                        incu   ed?
         1760     w    2100     sourH                                    when wa3 th€ debt                       UNKNOWN
         #26561
         salt Lake         citv, uT 84199
         Numb€r Slreet City Stale Zrp Code                               As ofthe date you file, the clelm ls: Chect all thal apply
         Who lncuned the debt? Check one
         E oebtor 1 only                                                 E contrngent
         E Debtor 2 onty                                                 E Unliquidared
         I Debtor 1 and Debtor 2 only                                    E orsputec
         E Al Easl one of lhe deblors and another                        Typ€ of NONPRIORITY unsecured clalm:

         ! Chock ifthls claim ls lor a community                         E    Student loans
         debt                                                            E  Obligations arisng out ol a separauon agre€menl or dvorce that you did nol
         ls the   cl.im subject to ofl6et?                               report as priority claims

         !to                                                             E    Debls lo pension or profil-shaling plaos. and olher srmllar debts

         E    ves                                                        I    ouer. specfy        CONSUMER LOAN



         SPEEDCO                                                         Last /t   digiL ot account number 4566                                             $1,198.62
         @                                                               when we! the debt        incured?       UNKNOWN
         CREDIT FIRST
         PO BOX 81344
         Cleveland, OH 44188
         Nrfibeistreel city state zip code                               AB   olthe dete you file, the cl6lm   13: Check   allthat apply
         who lncuned the debt? Check one.
          E    Debtor 1 only                                             E conUngent
          E    oebtor 2 onty                                             E unlquidated
          I    Deblor 1 and Debtor 2 only                                E Drsputed
          E   Al least one of the deblors and enother                    Type of NONPRIORITY unsecured claim:

          I    Chcak ll this claim is tor      a community               E    Sludenl loens
         debt                                                            E  Odigations afisrng oul of a separation agreemenl or divorce thatyou dld not
          ls the cl.lm subjectto offuet?                                 report as Pnorjty clarms

          lNo                                                            El   Debts to pension or pro,it-sharing plans, and oher slmrlar debls

          E    Yes                                                       I    orher Spec      y   CREDIT CARD




                     E/F                                     Schedule E/F: Crcdito6 Who HaYe Un36cuEd Claims                                                 Page 12 of 14
Official Form 106
Sonk.e CopwEhl (c) 19s-2019 Besl Cas€ LLC         -   ww   best€se cdn
              Case 4:19-bk-08056-SHG                                Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                        Desc
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Debtor   1    LOUIS NINO
DebtoT   2    DEENA NINO                                                                                   Case number        (rknd.)


         SYNCB/WALMART                                               Last 4 diglB    of.ccount number 5039                                                         s6E0.00
         @
         PO BOX 965024                                               when was the d6bt      incuned?            7-2016

         Number Slreet CiV Stale Zip Code                            As    olthe date you file, the claim is:   Check allthat apply
         who Incured the debt? Chect on€.
         D    oebtor I only
                                                                     E contingent
         D    Debror 2 onty
                                                                     E Unliquidated
         !    Deblor 1 and Oebtor 2 only                             E oisputed
         E    Al bast one of lhe debtors and another                 Type ol NOI.IPRIORITY un.ocurcd claim:

         I    choct if this claim ls lor a communlty                 E     Sludent loans
         debt                                                        E     Oblqalrons arsing oul ot a separalion agreement ordivorc€ thatyou dd not
         ls the clalm subjectto offset?                              reporl as priority claims

         lxo                                                         E     Detts to pension or prollt-sharing plans, and olher similar debts

         E    ves                                                     !    orher Specfy CREDIT CARD



         WEBBANKi FINGERHUT                                          Laet /t diglts ol accoont   number 7540                                                       $344.00
         @                                                                                   incuned?
         6250 RODGEWOOD ROAD                                         when was the debt                          1-2019
         Saint Cloud, MN 56303
         Numb€r Street City Slate Zrp Code                           As ofth6 date you llle, the claim is: Chect all thal apply
         Who lncured the debt? Checl one.
         E    Debtor 1 only
                                                                      E contrngent
         E    Dertor z onty
                                                                      E Unlqudated
          I   Debtor 1 and Debtor 2 only                              D orsputed
         E    AI bast one oflhe debtors and anolher                  Type ol NONPRIORIW unsecured clalm:

          !   Check if this claim Is lor   a communlty                E] srudent loans
         debt                                                         E  Obhgat'ons arising out of a sepalalion agreement or divorce that you did nol
         ls the claim subject to offset?                              reporl as pnority claims

          !no                                                         E    Oebts to pension or profilsharing plans. and other similar debts

          E   ves                                                     I    otner. specfy    CREOIT CARD


EEEI          List Othe6 to Bs Notified About a Debt That You alreadY Listsd
5. LJse this pEge onty tf you h.ve otheE to h€ notified alrout you r b.nkruptcy, for e debt that you !|.€ady fisted ln Parlr 1 or 2.. For example, if a collectlon
                                                                                                                                                                    agency
   is trytng ioiotteci lr6m you for e debt you owe to someone elso, llst the 6rigioal creditor in Pafts I or 2, then list the colloction agoncy hcle.Simlla.ly'
                                                                                                                                                                   lf you
  trar6 m-ore ttran one creOitor lor any of'the debt! thatyou listed ln Parts          l o;2, ll3t the additionalc.editors here. lf you do not hav€ rddttlonel peEonl to be
  notified for 6ny debts in Part3 I or 2, do not fill out orsubmit llll3 Page.

EE I          Add the Amounts lor Each Tvpe ol Unsecured Claim
6. Tota[he.mounG of certatn types of unsecured claims. This inlormation is for rtatisticalreportlng purpos* only.28 U.S C il59. Add the amounts foreach
  typa of unsecured claim.
                                                                                                                                      Total Claim
                        6a.   Domoallc support obligauons                                                       5a                                  0.00
        Total
      claima
  lrom Part 1           6b.   Taros and certaln otherdebt3 you owe the govomment                                6b        3                         0.00
                        6c.   Claims lor death or peEonal injury whlle you were intoxlcatod                     6c.       $                         0.00
                        6d.   Other. Add all olher pnonty unsecured clarms \Mite thal amount here               6d.       s                         0.00


                        6e.   Tolal Prlorlty.   dd   lines 6a lhrough 6d                                        6e        $                         0.00

                                                                                                                                      Tot lClaim
                        6f    Student loans                                                                     6t.                                 0.00
         Tot l
       claimt
  from Part   2         69.   Obligauons
                                  -old
                                           arising out of a separation agreement
                                                                        -        or divorce that
                                                                                                                                                    0.00
                              you      not r"poni" prlority ciaims                                              69


                                                          Schedul. E/F: Creditor6 Yl,ho HaYe Unsecured Clalma                                                     Page 13 of 14
Otlicial Form 106 E/F
Son%re CoprrEhl (c) 19962019 Aesl Case, LLC     -*w    bencee   (M
              Case 4:19-bk-08056-SHG                             Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                             Desc
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Debtor   1   LOUIS NINO
oebtor   2   DEENA NINO                                                                        Case number    (   knwn)

                     6h    Debts to penslon or proEt-sharing plans, and    oth..   slmilardebts 6h       $                       0.00
                     6i.   Other. Add all other nonprrcrity unsecured claims Wtite $at   amount 6i.
                                                                                                -        s-               '122'087 '02
                           here.
                     6j.   Total t{onprionty. Add lines 6l through 6i                                    $                122,087.02




Official Form 1oo   E/F                                Schedule E/F: creditor3 Who Have unBecu.rd   Claima                                      Page    '14   of 14
softyarc copFghr (c) 19s2019 Best Case. tLC   -   ww b€sl6e   @m                                                                         B6st   ca*   Bankruptcy

             Case 4:19-bk-08056-SHG                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                            Desc
                                                              Main Document    Page 40 of 63
Fill in this information to identify your case:

Debtor     1                 LOUIS NINO

Debtor 2                     OEENA NINO
(Spouse    (   filrns)


United States Bankruptcy Court for the:                 DISTRICT OF ARIZONA

Case number
                                                                                                                                             E   Check ifthis is an
                                                                                                                                                 amended filing



OfficialForm 106G
Schedule G: Executory Gontracts and                                                       U           ired Leases                                                1?j15
Be as complete and accurate as possible. lf two                  mar ed people         are filing together, both are equally responsible for suPplying correct
infomation. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
       I   No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       E   Yes. Fill in all of the information below even ifthe contacts of leases are listed on Schedule AJB:Pppefty (Otficial Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rcnt, vehicle lease, cell phone). See the instructions for this form in the instruclion booklet for more examples of executory contracts
       and unexpired Ieases.


        PerEon or company with whom you have the contract or lease                               State what the contract or lease is   for
                             Nam€ Numb€., Slr@t, City, Slal6 and zlP Code

 2.1




           Numbea          Street

           crrv                                      state                  zlP code

           Name


           Number          Street


           Civ                                       Stale                  ZIP Code


           Name


           Number          Slreet

           c'tffi
 2.4
           N",*--

           Number          Street

           C    v                                     Stale                 ZIP Code


           Name


           Number          Streel




offcial Form             106G                       schedule G: Executory contracts and Unexpired Leases                                                        Page 1 of   1


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                 Case 4:19-bk-08056-SHG                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                        Desc
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Fill rn this rnformation to identify your case:

Debtor    1                  LOUIS NINO

Debtor 2                     DEENA NINO


United States Bankruptcy Court for the:                     DISTRICT OF ARIZONA

Case number
                                                                                                                                                  E   Check it lhis is an
                                                                                                                                                      amended 6ling


OfficialForm 106H
Schedule H: Your Godebtors                                                                                                                                             12J15


Codebto6 ars pgople or entltles who are also liable for any debb you may haye. Be as complete and accurate as possible. lf two manied
peopte are filing together, both are equally rssponsible for supplying con€ct infomation. lf morc space is needed, copy the Additional Page,
lill it out, and number the enrios in the boxes on the left Attach the Additlonal Page to this page. On th€ top of any Additional Pages, tYrite
your name and case numb€r (it known). Answer every question.

     1. Do      you have any codebtoE? (lf you are filing a joint case, do not lisl either spouse as a codebtor

     I    tto
     E    Yes

     2. \Mthin the last I yea6, have you lived in a community property stat€ or ter tory? (Community Wpeiy states and tem?or'es include
     Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wsconsin.)

     E    No.   co to tine   3
     I    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                ENo
                I     Yes.


                        In which   clmmunity state or terntory did you              live?       .NONE-          .   Fill in the name and currenl address ofthat person.


                        Nane of tour spouse      foms spous6, or l6gal equrvalonl
                        Numb€r.   Strel C    y. SlaE & ZiP Cods


  3. ln Column t, list all of your codebtoE. Do not include ygur spousG as a codebtor ll your sPouse i3 filing with you. List the person shown
     in line 2 again as a codsbtor only il that peEon is a guarantor or cosigner. Make sure you have listed the creditor on SchedulG D (Ofticial
     Form t06D), Schedule E/F (Official Fo,m 1O6E/F), or Schedule G (Official Form 106G). Use Schedule O, Schedule E/F, or Schcdul€ G to lill
     out column 2.

                Column ,r Your codsbtor                                                                         Column 2: fhe creditor to whom you owe the debt
                Narn.. Nnbs, SU€€t. Crty. Stai€ dld     ZIP Cod€                                                Check allschedules $at apply:

                                                                                                                    E Sctreoute   D,   line   _
                                                                                                                    D schedute    E/F, tine
                                                                                                                    E schedule    G. trne

                Numbe.              Strdt




                                                                                                                    E  schedute D, tine
                                                                                                                    E  schedule ElF. tine
                                                                                                                    El schedute G. tine
                Numb€r              Stt.6l
                cdv




                                                                                                                                                                    Page 1 of   'l
Oflicial Form 106H                                                                          Schedule H: Your Codebtors
Softyare CopyrEht (c) 19S2019 B6sr Case LlC          -ww    b€slEse   cfr
              Case 4:19-bk-08056-SHG                                    Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
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Fil   rn   thrs nforrrraton

Debtor       1                LOUIS NINO

Debtor 2                      DEENA NINO
(Spou$.     d    ilhs)

United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number                                                                                            Check   iflhis is:
                                                                                                       E   An amended filing
                                                                                                       E   A supplement showing postsetition chapter
                                                                                                           13 rncome as of the following date:

OfficialForm 1061                                                                                          Ml\,t / DD/    WYY
Schedule I: Your lncome                                                                                                                           1Ul5
Be as completo and accurate as possible. It two marrled poople are filing together (Debtor 'l and Dsbtor 2), both are equally responsible for
supplying corect i.rormatlon. It you are married and not filing jointly, and your spouse is living with you, include intomation about your
spouse. lf you are separated and your spouse is not tiling with you, do ngt includ. inrormation about your spouse. ll more space is needed,
attach a separate sh€et to this form. On the top of any addltional pages, write your name and cass numbsr (if known). Answer evgry quostion.

EE?II Describe Employment
1. Fill in your employmEnt
       information.                                                Debe, r                                     Dobtor 2 or non-f,llng   lpoure
       lf you have more than one job,                              !   Employed                                E) Employed
       atiach a separate page with           Employment status
       informatron about additional                                E   Not employed                            I   Not employed
       employers
                                             Occupation            TRUCK DRIVER                                DISABLED
       lnclude part-time, seasonal, or
       self-employed work.                                         lndependent Contractor for
                                             Employeds name        DHS
       Occupation may anclude student
       or homemaker, if it applies.          Employe/s address
                                                                   232r E. 3480 SOUTH
                                                                   Saint George, UT 84770

                                             How lgng employed there?        ,I MONTH




Estimatc monthly income as ofthe date you file this torm. If you have nothrng to reporl for any line, write $0 in the spac€ lnclude your non-filing
spouse unless you are separated

ll you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. lf you need
more space, attach a separate sheet to this form

                                                                                                     For Debtor 'l          For Oadllgr 2 or
                                                                                                                            noo.flfing 39outo

       List monthly g,cs wages, salary, and cgmmissions (before all payroll
2.                                                                                                                 0.00                   0.00
       deductions). lf not paid monthly, calculate what the monthly wage would be

           Estimate and list monthly overtimo pay.                                         3.   +$                 0.00     .$            0.00

           Calculale gross lncome. Add line 2 + line 3.                                    1.    $             0.00             s       0.00




          Case
Offcial Form 1061        4:19-bk-08056-SHG             Doc 1 FiledSchedule
                                                                    06/28/19l: Your lncome
                                                                                     Entered 06/28/19 13:43:07                            Desc page    1


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Debror     l    LOUIS NINO
Debtor     2    DEENA NINO                                                                             Cas€ numtcr (,/r.owr)



                                                                                                           For   Dcho.l              for Dettor 2 or
                                                                                                                                     norl:fisng spouEe
          Copy line 4 here                                                                      4.         $              0.00                     0.00

5.        List all payroll deductlons:
          5a    Tax, Medicare, and Social Security deductions                                   5a.    s                  0.00                    0.00
          5b.   Mandatory contributions for retirement plans                                    5b     $                  0.00       s            0.00
          5c.   Voluntary cgntributions for retirement plans                                    5c.    $                  0.00       $            0.00
                Required repayments of retirement fund loans                                    5d.    $                  0.00       $            0.00
          5e    lnsurance                                                                       5e.                       0.00       $            0.00
          5f    Domestic suppo.t obligations                                                    5f.    $                  0.00       $            0.00
          5S    Union dues                                                                      59.    $                  0.00       $            o.oo
          5h.   Other deductions. Specify:                                                      5h.+   $                  0.00   +   $            0.00
6         Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59+5h                         6.     $                  0.00 $                  0.00
7         Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7.     s                  o.oo $                  0.00
8.        List all other income regularly received:
          8a Net incomo from rental property and from opcrating a business,
                 profession, or tarm
                Attach a statement for each property and business showing gross
                receipts, ordinary and nec€ssary business expenses, and the total
                monthly net income.                                                             8a. S               4,792.14         S            0.00
          8b.   lnterest and dividends                                                          8b. $                     0.00       $            0.00
          8c    Family support paym6nts that you, a non-tiling spouse, gr a dependent
                regularly receive
                lnclude alimony, spousal support, child suppon, maintenance, divo.c€
                settlement, and property settlement.                                            8c.        $              0.00       s            0.00
          8d.   Unemployment compensation                                                       8d.        s              ooo        $            0.00
          8e    Social Security                                                                 8e.                       0.00                    0.00
          8f    Other govemment assistance that you regularly receive
                lnclude c€sh assistance and the value (if known) of any non-cash assistance
                that you receive, such as food stamps (benefits under the Supplemental
                Nutrition Assistance Program) or housing subsidies.
                Specify:                                                                        8f$0.00$0.00
          89.   Pension or retirement income                                                    as. ----- OOO S
                                                                                                           S                                      OOO
          8h.   Other monthly income. Specify:                                                  8h.+ $    0.00 +$                                 0.00

9.        Add all other income. Add lines 8a+8b+8c+8d+8e+8f+89+8h                                      $                             $               0.00


10.       Calculate monthly incomG. Add line 7 + line 9.
          Add the entries in line 10 tor Oebtor 1 and Debtor 2 or non-filing spouse
                                                                                              ,o   E--           +rg;;l.l; n;l=F+^ta
                                                                                                   |_________l|-|_______l
1 1   .   State all other regular contributions to the expsnses that you list in Scredure J.
          lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and
          other friends or relatives-
          Do not include any amounts already included in lines 2-10 or amounts that are not available to pay erpenses listed in Schedule J
          Speciry:                                                                                                                        +$11                  0.00

12        Add the amount in ths last column of line 10 tg the amount in line 11. The result is the combrned monlhly incorne.
          Write that amount on the Summary ot Schedules and Stalisl,bai Surrfiary ol Cedain Liabilities and Related Dala, if it
          applies                                                                                                                           12   s          4,792.14

                                                                                                                                                 Combined
                                                                                                                                                 monthly income
13-       Do you erpect an increase or decrease within the year after you tile this form?
          I         No.
          D         Yes Explain:                                                              decrease,




          Case
Ofrcral Form 1061         4:19-bk-08056-SHG                         Sch.dule
                                                          Doc 1 Filed        l: Your lncome
                                                                      06/28/19         Entered 06/28/19 13:43:07                                  Desc page 2
                                                         Main Document       Page 44 of 63
E    _   t <         c'T.a:'o_ to o,   'li, ,o-r   La>c

Oebtor       1                 LOUIS NINO                                                                             Check iflhis rs:
                                                                                                                      E   An amended fling
Oebtor 2                       DEENA NINO                                                                             E   A supplement showing postpetition chapter
(Spouse, liling)                                                                                                          13 expenses as of the following date.


Un[ed Slates Eankruptca Courl lor the:             DISTRICT OF ARIZONA                                                         Ml\,'l/DD/YYYY

Case number
(lfknown)




OfficialForm 106J
Schedule J: Your Expenses                                                                                                                                          't215
Be as complete and accurate as possible. lf two mar od people are ,iling together, both are equally responsible for supplying correct
inlormation. It more spaca is needed, attach another sheet to this form. On the top of any additional pag6s, wdte your name and case
number (il known). Answer every question.

            Describe Your Household
     ls this a ioint case
         D       No. Go to tine 2
         I       Yes Does Debtor 2 live in a separate household?
                     !   tto
                     E   Yes. Debtor 2 must file Offioal Form 106J-2, ExEnses tor Separate Household ol Deblot 2.

2.   Do you have               dependents? E        No
     Do not list Debtor 1 and                  r_ .,,
                                                  Yes -                       for
                                                              Frll out thrs rnformalon     DoDendent's rel.tionship   to          Oependent's     Ooes dep€ndent
     Debtor 2                                                 each   dependenl             Deltor I or Debtor2                    age             llve wtth you?
                                                                                                                                                 E
     Do nol state the
                                                                                                                                                  E tto
     dependents names.                                                                     Daughter                               l9              I    Yes
                                                                                                                                                  ENo
                                                                                                                                                  E Yes
                                                                                                                                                  E r.,ro
                                                                                                                                                  E Yes
                                                                                                                                                  E t,to
                                                                                                                                                  E Yes
3.   Do ygur expenses               include               I   ruo
     expenses of people other than
     yoursell and your dep€ndents?                        E   Yes


EE         Estmate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this torm as a supplement in a Chaptel 13 case to rePort
expenses as of a date afr6r the bankruptcy is filed. lfthis is a supplsm€ntal Scrredure J, check the box at the toP g, the lorm and fill in the
applicabl€ date.

lnclude sxp€nses paid lor with non-cash govemment assistance if you know
                                                           l: Your lncome
the valuo of such assistance and have included it on Scrredure
(Official Form 1061.)                                                                                                                  Yosr €lDa]los


     The rgntal or home ownership expgnses for your residence. lnclude first morlgage
     payments and any rent tor the ground or lot.                                                                     4.$                               655.00

         lf not included in lin€ 4:

     4a.       Realestate taxes                                                                                   4a.      $                              0.00
     4b        Property, homeowne/s, or renter's insurance                                                        4b.      $                              0.00
     4c.       Home mainlenan@, repair, and upkeep expenses                                                       ,lc.     $                            100.00
     4d.       Homeowne/s association or condominium dues                                                         4d.      $                              0.00
         Additional mortgage payments for your residence, such as home equity loans                                                                       0.00




OfrcialForm 106J                                                                Schedule J: Your Expenses                                                          page   1

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 Debtor    1      LOUIS NINO
 Debtor    2      DEENA NINO                                                                           Case number       (t lnown)

 6     utilities:
       6a. Electricity, heat, natural gas                                                                    6a-    s                             300.00
       6b. Water, sewer, garbage collection                                                                  6b     s                             200.00
       6c. Telephone, cellphone, lntemet, satellite,        and cable services                               6c     $                             350.00
       ft. Othel. Speciry CABLE                                                                              6d. s                                  E5.00
 7     Food and houseke€plng supplies                                                                         7.    s                             650.00
 8.    Childcare and childrsn's education costs                                                               8.    s                               0.00
 9.    Clothing, laundry, and dry cleaning                                                                    9.                                  250.00
 10.   Personal care products and services                                                                   10.    $                             100.00
 11.   Medicaland dental expenses                                                                            11.                                  100.00
 12. Transportation.    lnclude gas, maintenance, bus or train fare-
       Do not include c€r payments.                                                                          12.    $                             680.00
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $                             22s.00
 14.   Charitable contributions and religious donations                                                      14.    S                               0.00
 15.   lnsurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                  15a.    $                             124.00
       15b. Health rnsurance                                                                                15b.    $                               0.00
       15c. Vehicle insurance                                                                               15c.    $                             160.00
       15d  Other insuranc€. Speoty:                                                                        15d     $                               0.00
 16    Taxes. Do not include laxes deducted from your pay or included in lines 4 or 20.
       Specrfy: Estimated income tar payment                                                                 15     S                             718.82
 17. lnstallment or leasg payments:
       17a        Car payrnents lor Vehicle   1                                                            17a.     S                                0.00
       '17b. Car payments lor Vehicle 2                                                                    17b.     S                                0.00
       17c.       Other. Specify:                                                                           t7c.    S                                0.00
       17d.       Other. Specifyi                                                                          17d.     $                                0.00
 '18   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay gn line 5, Scredule l, Your lncome (Ollicial Form 1061),                       18.    $                                0.00
 19    Other payments you make to support others who do not live with you.                                          $                                0.00
       Specify:                                                                                              't9.
20.    Other real property erpenses not included in lines4or5 o, this form oron Schedule l: Your lncome.
       20a. Mortgages on other property                                                  20a. $                                                     0.00
       20b. Realestate taxes                                                             20b. $                                                     0.00
       20c.       Property, homeowner's, or aenter's insurance                                             20c.     $                               0.00
       20d.       Marntenance, repair, and upkeep expenses                                                 20d.     $                               0.00
       20e.       Homeowner's associatron or condomrnium dues                                              20e.     $                               0.00
21     Other:      Specily: FARM ANIMAL FEED                                                                 21     +$                            100.00
       EMERGENCY AND CONTINGENCY EXPENSES                                                                           +S                            r20.00
22     Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                                      s                   4,917.E2
       22b Cop,J line 22 \nonthly expenses for Debtor 2), if any, from Ofiicial Fonh 106J-2                              $
       22c. Add line 22a and 22b. The result is your monthly expenses.                                                   s                   4,917.E2
       Calculate your monthly net income.
       23a        Copy line 12 (your combined monlhly income, fiom Sciedule       l.                       23a      $                          4,792.14
       23b.       Copy your monthiy expenses from line 22c above.                                          23b      -$                         4,917.82

       23c.    Subtrad your monthly expenses from your monthly income.
               The result is your monthly net income.                                                               s                            -125.68

24.    Do you expect an increase or decrease in your expenses within th€ ygar after you file this form?
       For example, do you expect to finish paying for your car loan wthin lhe year or do you expectyour mortgage paymenl to increase or decrease because of a
       modificatron to lhe lerms of your mortgage?
       I   tto.
       E   Yes.             fErplal,r   here.                                                                                                                     --l
                                                             -




Oficial Form 1 06J                                                  Schedule J: Your Expenses                                                                    page 2
           Case 4:19-bk-08056-SHG                       Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                              Desc
                                                       Main Document    Page 46 of 63
 Fill in this information to identify your case:

Debtor     1              LOUIS NINO

Debtor 2                  DEENA NINO
(Spouse    .   nlhg)      Firsl Name


United States Bankruptcy Court for the:            OISTRICT OF ARIZONA

Case number
                                                                                                                              E   Check if this is an
                                                                                                                                  amended filing




Official Form 106Dec
Declaration About an !ndividual Debtor's Schedules                                                                                                      12115


lf two married people are        filing together, both are equally responsible for supplying corect information.

You must file this form whenever you tile bankruptcy schedules 01 amended schedules. Making a talse statement, concealing property, or
obtaining money or property by traud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C.55 152,13ill, 1519, and 3571.




l'nnr",o,,
       Did you pay or agree to pay someone who is NOT an anomoy to help you fill out bankruptcy torms?


       lNo
       E Yes. Name of person                                                                                Atach Bankrupw Petition Prcparels Notice,
                                                                                                            Declantion, and Signaturc (Offrcial Form 1 19)


      Under         nalty of periury, I declare that I have read the summaiy and schedules filed with this declaration and
      tha               lrue and corect.

       x
                                                                                    DEENA NINO
               Signature of Debtor     1                                            Signature of Debtor 2

               Date June 20, 2019                                                   Date June 20,2019




OIficialForm 106Dec                                     Declaration About an lndividual Debto/s Schedules
sotware Copyrqhl (c) 1996-2019 Besr    c6e, LLc ww.besrce   @m




               Case 4:19-bk-08056-SHG                        Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                Desc
                                                            Main Document    Page 47 of 63
 Fill in this information to identify your case:

 Debtor   1                  LOUIS NINO

 Debtor 2


 United States Bankruptcy Coud for the:              DISTRICT OF ARIZONA

 Case number
                                                                                                                                       E   Check ifthis is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy                                                                                              4119

Be as complete and accurate as possible. lf two mar ed peopl€ are filing togethel, bot r ars equally responsiblo ,or supplying conect
information. lf more space is ne€ded, attach a separate sheet lo lhis form. On the top ol any additional pages, wrlte your name and case
number (it known). Answer every question.



l,   What is your curent marital status?

      I       Married
      E       Not mamed

2,   Ouring the last 3 yea,s, have you lived anywhere other than where you live now?

      Ixo
      D Yes. List all of the places you lived in the last 3 yea.s- Do not include where you live now.
      Debtor        I   Prior Addtess:                        Dates Debtor   1           Debtor 2 Prlor Addrsas:                              Dates Debtor 2
                                                              lived th6re                                                                     lived there

3.   Within the last I years, did you ever live with a spouse or legal equivalent in a community property state or terdtory? (Community                     ptorytty
stales ard lerrton'es include Arizona, Caliiornia, ldaho, Louisrana, Nevada, New Mexico Puerto Rico, Texas, Washington and Wsconsin.)

      E       tto
      I       Yes Make sure you 6llout Schedu/e H. Your Codebtots (Olficial Form 1O6H).


@              erct"in ttre sources of Your lncome

4.   Did you have any income frgm employment or Irom operating a business during this ysar or tho two previous calendar years?
     Fill in the total amount of income you received from alljobs and all businesses, including part-trme aclvities.
     lf you are filing a joint case and you have in@me that you receive together, list it only once under Debtor '1.

      Eruo
      ! Yes. Fill in the details.
                                                 Debtor   I                                                    Debtor 2
                                                 Souaces of incomg                Gross incomg                 Sourc6 of incom€                Gross Income
                                                 Check allthat apply.             (before dedudions and        Check all that apply.           (betore deduclions
                                                                                  exclusions)                                                  and exdusions)

From January I of cur.ent year until             D Wages, commissions                        $29,471.'.16      E wages, commisslons,                            $0.00
the date you filed for bankruptcy:               bonuses tips                                                  bonuses, tips

                                                 I   operating a business                                      E   Operating a business




Offioal Form 107                                     Sletement ol FananclalAfLlrs for lndividuals Fillng lor B.nkruptcy                                          Page   1

Sotwar€ Copyight (c) 198d2019 Best Case LLC   -ww bestce.cm
              Case 4:19-bk-08056-SHG                           Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                      Desc
                                                              Main Document    Page 48 of 63
 Debtor    1    LOUIS NINO
 Debtor    2    DEENA NINO                                                                                             Case number (i/rdow,)


                                                             Debtor     I                                                     Dsbtor 2
                                                             Sources ot income         income  GroagSourc6 of income       Gross incom€
                                                             Check allthat apply.             and Check all that apply-
                                                                                               (before dedudions           (before deducirons
                                                                                   exdusions)                              and exclusions)

                                                             ! wages, commissions,        $1,383'3E E wages, commissions,               $0 00
                                                             bonuses, tips                          bonuses, tips

                                                             E operating a busine$                  E operating a business

 For last calendar year:                                     E Wages, commissions,                           $22,053.00 E        Wages, commissions,                       s0.00
 (January I to Oocember 31, 2018                  )          bonuses, tips                                                    bonuses, tips

                                                             I   operating a business                                         E   Operating a business


 For the calendar year before              that:             O Wages, commissions,                           $22,155.00 E        Wages, commissrons,                       s0.00
 (January 1 to December 31, 2017              )              bonuses,tips                                                     bonusCs, tips

                                                             I Operating a busine"r                                           E   Operating a business



5.    Dld you rocelve any other income during this year or tho two previous calendar years?
      lnclude income regardless of whether that income is taxable. Examples ol othet income are alimony: child support: Socral Security, unemployrnent,
      and other pub|c benefit payments; pensionsi rental income; interest; dividends; money colleded from lawsuitsi royalties: and gamblrng and lottery
      winnings. lfyou are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross incorne from each source separately. Do not include income that you listed in line 4


      !t'lo
      E Yes. Fill in the detaals
                                                             Debtor     I                                                     Debtor 2
                                                             Soulc6 ot lncome                  Gro3s incomg     from          Sources of   lncomo           Grogg income
                                                             Describe below                    each gource                    Describe below.               (before deduclions
                                                                                               (before dedudions and                                        and exdusions)
                                                                                               exclusions)

EEE t-ist qcrrain Paym€nts You Made Before You Filed tor Bankruptcy
6. Are either Ogbtor 1's or Oebtor 2's debts primarily consumer debts?
   E No. Neither Oebto, I nor Oebtor 2 has primarity consumer dsbts. Consurrer debts are defined in 11 U.S.C. S l01(8) as "incurred                                         by an
                     individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825' ot .r'ore?
                      E ruo.     Go to trne 7.
                      E Y""        List below each creditor to whom you paid a total of $6,825' or more in one or more payments and the total amount you
                                   pald that creditor. Do not include payments for domestic support obligatrcns. such as child support and alimony. Also, do
                                   not include payments to an attorney for this bankruptcy case
                      '   Subjed to adjustmenl on 1l11l22 and every 3 years after thal for cases filed on or aner the date of adjustrnent.

      I     Yes- Oebtor I or Oebtor                2    or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      I tto.         Go to tine 7.
                      O yes          List below each creditor to whom you pad a total of S600 or more and the total amount you paid that creditor. Do not
                                     include payments for domestic support obligations, such as chrld support and alimony. Also, do not include payments to an
                                     attorney tor this bankruptcy case.


      CBdito/s        Name and       Addr9ss                                Oates of   payment         Total   amount         Amount   you      Wa3 thlg paymgnt for ...
                                                                                                                paid              stillowg




Official Form   107                                              Statement of Financial Aftairs for hdlviduals Flllng for   BEnkruptcy                                       page 2

SofM?rc   Copyr€   (c) l 9$-201 9 8€st   Cas.   LLC ,   k*    b€srcas   com                                                                                      Best Case Banktuptcy
            Case 4:19-bk-08056-SHG                                           Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                     Desc
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    Debtor      1       LOUIS NINO
    Debtor      2       DEENA NINO                                                                           Case number (irloowr)


 7.         Within   1 ycar before you filed fgr bankruptcy, did you make a paymenl on a dobt you owed anyone who was an insider?
             /ns/dels include your relatives; any general partners; relatives of any general partners: partnerships of which you are a general partner; corporations
             ofwhich you are an ofrcer, diredor, person in control, or owner of 20% or more of thei. voting securities; and any managing agent, including one tor
             a business you operate as a sole proprielor. 11 U.S C. S 101 lnclude payments for dornestic suppon oblrgations, such as child support and
            alrmony.

             lNo
             E Yes. List all payments to an insider.
             lnsidg/s Namg and Address                            Dates of payment             Total   amount      Amount    you     Reason for thB paymsnt
                                                                                                        paid            stillowo
            within 1 year before you filed for bankruptcy, dld you make any paymgnts or transfer any property on account ot                  a debt   that bgnefited an
            insidsA
            lnclude payments on debts guaranteed or cosigned by an insider.

            I     tto
            E     Yes. List all payments to an insider
             lnsid€r's     ame and Address                        Dates o, payment             Total   amount      Amount   you      Reason tor thls paymgnt
                                                                                                        paid            stillowe     lnclude credito/s name



 9          Wthin    1 year betore you ,iled ,or bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
            List all such matlers, inc.luding pe6onal injury cases, small claims aqtions, divorces, colledion suits, patemity adions, support oi custody
            modifications. and contract dispules.

            !    tto
            E    Yes. Fill   rn   the delails
             Ca6e tltle                                           NaturB of the   caso        Court or agency                        Status ot the case
             Gase number

 10. within I year bsfore you filed for bankruptcy, was any of your property repossgssed, toreclosgd, garnished, attached, seized, or levied?
            Checl all that apply and fill in the details below.

            E    No. co to line 11.
            I    Yes Fill in the inlormation betow
             Creditor Name and Address                            Doscribo the Propany                                       Dato                         Value of the
                                                                                                                                                              proporty
                                                                  Explain what happened
             NORTHMILL EQUIPMENT                FINANCE Votuntary repossession of semi truck for                                                                $0.00
                                                                  business

                                                                  E   Property was repossessed.
                                                                  E   Property was foreclosed.
                                                                  E   Property was garnished.
                                                                  E   Property ,^/as anached, seized or levied.


1   1   .   Within 90 days before you ,iled ,or bankruptcy, did any creditor, including a bank or linanciat institrrtion, set ofl any amounts from your
            accounts or refuse to make a payment becauso you owed a debt?
            lNo
            E Yes. Fillin the details.
            Creditor Name and Address                             Deacribe ths actlon the croditor took                      Date action   was                Amount
                                                                                                                             taken
12. Within          1   year before you filed for bankruptcy, was any of your property in the possession of an assignee fo. the benerit of credito.s, a
            court€ppointed receiygr, a custodian, or another official?
            !    t,to
            E    ves




Olfcial Form        107                               Statemcnt of Financlal Affairr tor lndividuat6 Fiting for Eankruptcy                                       Page 3
Sotrva.e Copyrqht (c) 19S-2019 B6sr Cas. LLC - *w.bostcase @m

                 Case 4:19-bk-08056-SHG                        Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
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    Debtor   1   LOUIS NINO
    Debtor   2   DEENA NINO                                                                                            Cas€ number (/r/,owr)


llt;fl           List Certain cifts and contributions

'13. Within       2 years belore you            filed for bankruptcy, did you give any gifts with a total vahre of more than 3600 per person?
         I    tto
         E    Yes. Fill in the details for each gft.
         Gitts with a total value ol more than                   $600            Desc.iba tl|e   gitB                                  Dates you gave                   Value
         por  ps6on                                                                                                                    thc giffs

         P€6on to Whom You Gave the Gift and
         Address:

14.      Wtthin 2 years before you liled for bankruptcy, did you give any gifts or contributions rvith a total value of more than $600 to any charity?
         I    tto
         D    Yes. Fill in the details for each gift or contribution.
         Gifls or co.trlbutions to charities that                   total        Describe what you conkibuted                          Dates you                        Value
         more than 1600                                                                                                                contributed
         Charity's Name
         Addr6s        (Nun|b.r. str..t, Chy,   srrr.   d   zP   Cod6,


GlE              List certain Losses

15. Wthin         1   year befo.e you filed tor bankruptcy or since you filed for bankruptcy, did you lose anything because ot theft, fire, other disaster,
         or gambling?

         I    tto
         E    Yes. Fillin the detarls
         Describe iho property you lost                 and              Descdbe any insurance coverage for tho       loss             Date    ofyour    Value of property
         how the losa occurred                                                                                                         loas                               lost
                                                                         lnclude the amount that insurance has paid. List pending
                                                                         insurance claims on line33 ol Schedule AE: Poperty.

llEEflI          Ltst certain Pavments or Transfers

15       Wthin  1 year befo.e you filed lor bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
         consulted about seeking bankruptcy or p.eparing a bankruptcy potltion?
         lnclude any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

         E    tto
         I    Yes. Fill    rn   the details.
         Po6on who Was     Paid                                                  Oescdption and value of any      property             Date    paym€nt            Amount of
         Addross                                                                 transtored                                            or transforwas              payment
         Email or rYobalte address                                                                                                     made
         Person Who trlade the Payment, i, Not You
         ELLETT LAW OFFICES,                      P.C.                           ATTORNEYS        FEES                                 6.5-2019                     $945.00
         2999 N       STREET
                'I4TH
         Phoenix, AZ 85018


1   7.   Within 1 year belore you filed for bankruptcy, did you or anyone elss acting on your behall pay or ttansfer any property to anyone who
         promised to help you deal with your creditors or to maks paymenb to your crsditors?
         Do not include any payment or transfer that you listed on line 16.

         Ito
         E Yes. Fill in the details.
          P€6on who was Pald                                                     D6cription and value of any      property             Date    payment            Amount of
          Address                                                                translerrgd                                           or translerwas              payment
                                                                                                                                       made




Officjat Form    107                                             Statement of Financlal Aftaars for lndividuals Flling for   Benl.uptcy                                  pege 4

Sonk.6 Coptflghl      (c) 19$-2019 Besl Case.    LLC    Fw best@          @m                                                                               Bssl   Cae Sanktuplry
              Case 4:19-bk-08056-SHG                                        Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                Desc
                                                                           Main Document    Page 51 of 63
 Debtor    1    LOUIS NINO
 Deblor2 DEENA NINO                                                                                                       Case number    0/
                                                                                                                                              ^.ow.)

18.   Wrthin 2 years betore you filed for bankruptcy, did you sell, trade, or otherwise transfer any prop€rty to anyone, other than proPerty
      transferred in the ordinary course ot your business or financial affairs?
      lnclude both oukight transfers and transfers made as security (such as the grantrng of a security interest or mortgage on your property). Do not
      rnclude gifrs and transfers that you have already listed on this statement.
       !No
       E Yes. Fill in the details.
        Pgrsor who Rocaived Transfer                                                D6cdption and r6luo           of            Describo any property   or         Date transfer was
       AddrDss                                                                      property transtgrred                        paymonts rscaived or    debts      made
                                                                                                                                paid in oxchange
        Psrson's relationship to you

19. Within   10 yeaE before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device ol whlch you are a
      bcnericiary? [hes€ are ofren called asset-prctection devi@s.)
       !No
       E Yes Fill in the details.
        Name of     trust                                                           Description and \ralu€ ot the propefty transrerred                             Date Translgr lvas
                                                                                                                                                                   made

IEE             List of certain Financial Accounts, lnstruments, Safe Deposit Boxss, and Sto6ge Units

20. Within   1 year before you tiled for bankruptcy, wgre any financial accounts or instruments held in your namr, or for your benetit, closed,
      sold, moved, or transfened?
      lnclude checking, savings, money market" or other financial accounts; certiticates of deposit; shares in banks, credit unions, brokerage
      houses, pension lunds, cooperatives, associations, and other financial institutions.
       I     r,ro
       E     Yes. Fill in the dstails.
        Name ot Financial lnstitution                      and                 Last 4 digits of             Type ot account     or    Dateaccountwas                      Last balance
        Address lNuElbor, sr...r, clty. sr.te              snd zP              account numbel               instrumcnt                closed,sold,                  bOrorc Closing         or
        cod.)                                                                                                                         movsd, or                                  transfor
                                                                                                                                      transferred

2l    Do you now hayo, or did you have                         within     1   ysar before you filed for bankruptcy, any safe deposlt box or other depository for securities,
      cash, or other valuabl6s?

       Ito
       E Yes. Fillin the details.
        Name of Financial lnstltutlon                                               Who €lse had acca$ to           it?   Describo tho   contents                    Do you      still
        Address (Nurtoa sl'        .!     Cltrl   si.!..nd zP       He)             Addlass lNuhb.r,     St-! clty,                                                  have it?
                                                                                    SutG .nd ZP Codo)


22    Have you stored          properv in              a   storage unit or place other than your hom€ within I year before you filed for bankruptcy?

       !to
       E Yes. Fill in the deiails.
        Name of Storage Faclllty                                                    VYho else has     or had     accass   Descdbo tho    contents                    Oo   you still
        Addrcss     (Numbor,   st!.t      clty,   st   t   .nd zP   cods)           to it?                                                                           have it?
                                                                                    Address   (Numb.r,   St .t city,
                                                                                    Sbto rnd zP Co<L)

EEEI            ldentify Propertv You Hold or Control for Someone Else

23    Do you hold or control any property that someone else owns? lncluds any property you bonowed from, are                                            sto.ing for, or hold in trust
      for someone.

       I     tto
       E     Yes, Fill in the dstails.
        Owne/s      Name                                                            \rJhere is the    proporty?           Oescribo ths   property                                    value
        Addr6s Gur$.r, sta!               clty,   sLt      .nd zP   cod.)           (Nutr5"' so!'q cilv' Slrt'   rldzP

EEEtrI          cive Details About Environmental lnformation

For the purpce of Part 10, the ,ollowing definitions apply:

a     Environmental law m6ans any fedeEl, state, or local statute                                 o   egulation concerning pollution, contamination, releases of hazardous or
Olficial Form   107                                                 Statemont ot Financial Atfairs for lndlvldu.lr Filing for   Bankruptcy                                               page 5

Sotr*?r3 Copyr'ght (c) 1 99€i201 9 B6si   C   as6. tLC -    uw   besr€se      @m                                                                                       B€st   Cas Banktuplry
             Case 4:19-bk-08056-SHG                                            Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                         Desc
                                                                              Main Document    Page 52 of 63
  Debtor    1    LOUIS NINO
  Deblor2 DEENA NINO                                                                                                          Case number      (,/   rro*r)


       toxic substances, wastes, or material into the air, land, soil, surtace water, groundrvater, or other medium, including statutes or
       regulations con0olling the cleanup of these substancas, wastes, or material,
 I     Site means any location, facility, or property as defined under any environmental law, whether you now own, operats, or utiliz€ it or usEd
       to own, gp€rate, or utilize it, including disposal sites.
 a     Hazardous mateiia, means anything an environmental law dofines as a haza rdous waste, hazardous substance, toxic sub6tance,
       hazardous material, pollutant, contaminant, gr similar term.

 Repo.t all notices, releases, and proceodings that you know about, regardless of whsn they occured.

 24.   Has any govemmental unit notified you that you may be liable or potentially liable under or in violatlon of an environmental law?

       !     tto
       E     Yes. Fitt in the detaits.
        Namo of      site                                                        Govemmantal unit                                  Environmental law, It      you   Datg ot notics
        Addre€a {Nunt ., SbEt              City, SEr.    .rd ZP   Cod.)          AddES€ (Num!.r, Sr.€r.      Ctty. Sr.r.   .]rd    knOW   it

25.    Have you notified any govgmmental unit of any release of hazardous material?

       !     tto
       E     Yes, Fill in the details.
       Name of       site                                                        Governmental      unit                            Envlronmental law, if      you   Date gf notice
       AddreSE (Nunt        r,   Sb!.t,    Ciry, St   r. .nd ZP   Code)          AddI€Ss (Numb.a SE6t        Ctty, Srat.   md      know it

26.    Have you bcen a           parg in any judicial or administrative proceeding unde. any onvironmental law? lnclude settlements and orders.

       !     tto
       O    Yes. Fill in the details.
       Case     Title                                                                agqncy
                                                                                 Court or                                    Nature ofthe      cagq                 Statug of the
       Case     Number                                                           Name                                                                               cas6
                                                                                 AddrB-ss IN!m!.i,   sr..t   ctty,


EE@             cive Details About Your Business or connections to Anv Business

27. Within,l        years before you filed tor bankruptcy, did you own a business or havc any ot tho tollowing connections to any business?
            E      A sole proprietor or self+mployed in a tiade, profession, or other activity, either full-time or part-time

            I      A member of a limited liability company (LLC) or timited liability partnership (LLp)

            E    A partncr in a partnership

            E    An officer, director, or managing executive of a corporation

            D    An owner of at least 5% ol the voting or equity securities of a corporation

       El   No. None of the above                  applies. Go to Part t2.
       !    Yes. Check all that apply above and fitt in the details below for each businsss.
            Name
       Businsaa                                                            Dsscribo the naturO of the        business              Employer ldentmcatlon numbgr
       Addr68                                                                                                                      Do not inctude Social Security number or lTlN,
       [imb.r, sr..t ciy,        srrll.   .,d zP   codc)                   Name ol accountant or bookkeeper
                                                                                                                                   Datgs businoss existgd
       LDN TMNSPORT, LLC                                                   TRANSPORT                                               EIN:              20{604294
       3660 EAST HASH KNIFE DRAW
       ROAD                                                                TAXES AFFORDABLE-                 JOHN                  FTOM.TO 2007-2019
       San Tan Valley, AZ                  85140                           ROBINSON




ofllclal Form   107                                               Statemenl ot Financial Affalrs for lndividuals Filing for       gankruptcy                                     page 6
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             Case 4:19-bk-08056-SHG                                        Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07                                           Desc
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           Case 4:19-bk-08056-SHG Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07 Desc
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                                                                                                                          4


              1                             In the United States Bankruptcy Court
              2
                                                  For the Distri ct of Arizona

              3    In re:                                             )    Chapter 7
                                                                      )
              4    LOUIS & DEENA NINO          ,                      )    Case No.

              5                            Debtor.                         RULE 2016 STATEMENT

              6
                            The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:
              1
                   (1)      The undersigned is the attomey for the debtor(s) in this case.
              8
                   (2)      The compensation paid or agreed to be paid by the debtor(s) to the undersigned is:
              9
                            (a)    For legal services rendered or to be rendered in contemplation
             10                    ofand in connection with this case . . ..                              $    945.00
                            (b)    Prior to filing this statement, the debtor(s) have paid.         .   . $    945.00
             1l-            (c)    The unpaid balance due and payable is. . . . ..                        $      N/A
ii                                 $335.00 of the fiting fee in this case has been paid.
             l2
Lrje
                   (3)      The services rendered or to be rendered include the following:
YA           13
*d
qs R;
                            (a)    Analysis ofthe hnancial situation, including rendering advice and assistance to
             t4                    the debtor(s) in determining whether to file a petition under Title 1l of the United
\J7)
                                   States Code;
       .{3   15             (b)    Preparation and filing ofthe petition, schedules, statement ofaffairs and other
       a                           documents required by the court;
F-s
brR          16             (c)    Representation ofthe debtor(s) at the meeting ofcreditors;
*t
.t
ra           L1    (4)      The source ofpayments made by the debtor(s) to the undersigned was from eamings,
                            wages and compensation for services performed;
             l8
                   (5)      The source of payments made by the debtor(s) to the undersigned for the unpaid balance
             19             remaining, if any, will be from eamings, wages and compensation for services performed;

             20    (6)      The undersigned has received no transfer, assignment or pledge ofproperty except the
                            following for the value stated;
             2l    (7)      The undersigned has not shared or agreed to share with any other person, other than with
             22             members of the undersigned's law firm, any compensation paid or to be paid;

             23    (8)      Fee Contract attached.


                            Dated this 5th day ofJune, 2019.
             25
                                                                          ELLETT IAW OFF|CES, P.C.
             26

             21                                                           /s/ Ronald J. Ellen
                                                                          Ronald J. Ellett
             28                                                           2999 North 44n Street, Suite 330
                                                                          Phoenix, Arizona 85018


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               1                                       CHAPTER 7 BANKRUPTCY
               2

               3

               4
                             ELLETT IAW OFFICES, P.C., will provide legal services to you on the terms set forth
               5
                   below.
               6

               1
                   (1)       SERVICES. You agree to pay for our legal services provided to you. The services provided
               I   include preparing all schedules and related documents necessary to your Chapter 7 Bankruptcy
               9
                   proceeding and to represent you at the first meeting of creditors. Any additional services not listed
              10                                                                                                  will
                   above    will   be billed at our standard hourly rate. Any fraud or dischargeability actions          be   billed
              11
ri                 at our standard hourly rates. Services       will not include conversion to another chapter; correcting,
o-
              72
r.,i:              modifring, or bringing any suits relating to the reporting of your credit, nor any other services not
f.t g
Y.,           13
!\;                expressly listed above. Services        will not include the avoidance of any liens. Services will not
LL9
o; <a         74
                   include bringing an action to discharge student loans. We          will take   reasonable steps to keep you
        ,{S   15
        e          informed of progress and to respond to your inquiries. We                will provide those legal services
t-s
l,lR          16
                   reasonably required to represent you.
{*t
r{            l1
              18
                   @         CLIENT DUTIES. You           agree to be   truthful with us, to cooperate, to keep us informed of
              t9   developments, to abide by this agreement, to pay our bills on time and to keep us advised of your
              20
                   address, telephone number and whereabouts. You further agee that all letters, e-mails, pleadings,
              2t   court filings and any other documents ofany kind shall be your responsibility to retain. You agree
              22                                                                                                                  of
                   that we   will not   need to provide additional copies to you. We do agree to provide for free a copy
              23
                   any documents that we possess, provided that the request is made in writing by you within one year
              24
                   of the closing of your court case. Our office    will provide you with   the original, Court documents that
              25
                   you sign in this case. You have a duty to retain these documents for a period offive years from the
              26
                   date   ofyour discharge or five years from the date of the dismissal ofyour        case, whichever is later.
              21

              28


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              1   (3)      SERVICES PROVIDED MORE THAN30 DAYS BEFORE BANKRUPTCY. These

              2   services    will   be charged at our standard rates and are in addition to the other charges set forth in our

              3   contract.

              4


              5   (4)      BASIC FEE CHARGE FOR SERYICES PROVIDED WITHIN 30 DAYS OF FILING.

              6   You agree to pay for our legal services provided to you poslpetition. You understand that we will

              1   be paid a    flat fee of$945.00. This flat fee is for: (l) your attomey consultations and legal fees for

              I   preparing your schedules, statement offinancial affairs; and (2) representing you at the first meeting

              9   ofcreditors and two notice of filings for State Court.

             10            In addition to the services listed above there may be other flat fee charges if necessary for

             11   yolrr case. There will be an additional up-front charge of$75.00 for each notice of filing that your
U
             l2   case requires. There      will   be an additional charge   of525.00 for us to retrieve your file two (2) years
3E
t;
l<d
             13   after the date your case was           filed.   There   will be an additional   charge   of $250.00 for   each
L\9    Eq'
             74   modification or amendment to your schedules, petition, or statement offinancial affairs. There will
       <:
       .rE        be an additional charge of$250.00 to apply to change or continue your 341 meeting or to waive your
        E9   15
F\Z
F-3
LIr3         16   appearance at the 341 meeting.          Ifyour   case requires more than one appearance at a 341 meeting,
\]
{
tr]          l1   there   will be a charge for      each extra appearance     of $375.00. There will be an additional fee of

             18   $135.00 for any reaffirmation agreements.           hl   AN
             19   Any filing fees or other fees charged by the Court are not included in your attomeys's fees and will

             20   be billed to you separately. /s/

             2L

             22   (5)      DISCHARGE AND WITHDRAWAL. You may discharge                            us at any time for any reason.

             23   We may withdraw with your consent or for good cause. Good cause includes your breach ofthis

             24   agreement, your refusal to cooperate with us or to follow our advice on a material matter or any fact

             25   or circumstance that would render our continuing representation unlar,lfi-rl or unethical. Upon

             26   discharge or withdrawal you will owe us the minimum fee plus the fee for any additional services

             21   rendered calculated at our standard hourlv rate.

             28



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                    1   (6)     DISCLAIMER OF GUARANTEE. Nothing in this agreement and nothing in our

                    2   statement to you   will   be construed as a promise or guarantee about the outcome of your       matter. We

                    3   make no such promises or guarantees. our comments about the outcome of your matter are

                    4   expressions of opinion only.

                    5

                    6   (7)     BREACH OF THIS AGREEMENT. All fee disputes shall                       be submitted to and governed

                    1   by the Arizona State Bar Fee Arbitration Committee. In the event of a breach of this agreement you

                    I   agree to pay a reasonable attomey's fees and interest    offifteen (15) percent.
                    9

               10

               11                                                               ELLETT LAW OFFICES, P.C.
!
o-
               72
v).4
Lrl   I
          =    13                                                               /s/ Ronald J. Elletr
!(d
qE 6;                                                                           Ronald J. Ellett
          e;   74                                                               2999 North 44s Street
          <i                                                                    Suite 330
          {3   15                                                               Phoenix, Arizona 85018
F-8            16
tl*
-t
\)
t!             L1              I/We have read and understood the foregoing terms and those set forth on the attached Rate

               18       Schedule and agree to them.      If more than one party signs below, we each      agree to be liable,   jointly
               19       and severally, for all obligations under this agreement.

               20

               2l
               22
                        DATED:   b- 9- tn
               23

               24

               25
                                                                                ,.,   Q   -.".-....-   .,..^..^-^)-
                                                                                Joint Debtor

               26

               21

               28



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               1


               2                                     RATE SCHEDULE
               3
                    A.     Identification: Louis & Deena Nino
               4


               5           Matter:          Chapter 7 Bankruptcy
               6
                    B.     Hourly rates for legal personnel:
               1

               I                    Ronald J. Ellett                     $545.00/hour
               9                    TracyPerez                           $425.00/hour
          10                        Shawna Reynolds                      9305.00/hour

U
   .      11                        Associate Attomeys                   $250.00/hour

                                    Law Clerks                           $235.00/hour
h,:e-
l;E-
l(;-;
          13                        Senior Paralegals                    g225.00lhour

d; Sn     t4                        Paralegals                           S195.00/hour
s--ao
.rE g -                             Clerical                             $105.00/hour
!-z s
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t{R       1e
{{
r,l       It       C.      Standard charges:
          18              We charge for our time in minimum units      of 0.1   hours.
          l9
                   D.     Costs and Expenses:
          20
                          In-officephotocopying         $.10/page
          27

          22
                          Mileage                       $L!0/mile

          23
                          Other computer     time       Actual Cost.

          24
                          Postage                       Actual Cost.

          25
                          Facsimile                     $ I .0O/page


          26       E.     Subject   to   change:
          2l               The rates on this scheduleare subject.to change on 30 days written notice. Ifyou decline
                   to pay any increased rates, we will have the right to ;ithdraw as your lawyers.
          28



          Case 4:19-bk-08056-SHG                                5
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      Fill in this rnformation to identify your case:

      Oebtor    1             LOUIS NINO
                              FrEl N6me

      Debtor    2             OEENA NINO
      (Spouse il.   fihe)     Frn   Nam€


      United States Bankruptcy Court for    the:    DISTRICT OF ARIZONA

  Case number
  ld rJwn)
                                                                                                                                  E   Check if this is an
                                                                                                                                      arnended filing



 OfficialForm 108
 Statement of lntention for lndividuals Fili                                                          Under Cha          r7
 It you are an indiyidual   ,ilin9 under chaptor 7, you must        tiI   out this form it:
 I      creditots have claims secured by your propefty, or
 f you havs leased personal property and the lease has not expircd-
 You must file this form with the court within 30 days after you fil€ your bankruptcy petitjon or by the date set forthe meeting ol creditors,
         whichever is earlier, unless the court extends the time ,or cause. You must also send copies to the creditors and 6sso6 you list
         on thE form

 It   two married people are filing together in      a   ioint case, both are equally rBsponsible for supplying co.rect info.matlon. Both debtors must
            sign and date the form.

 Be as complete and accurate as possible. ll more space is need6d, attach a separate sheet to this form. On the top of any additional pages,
                    write your name and case number (if known).



1. For any     creditors that you listed in Part 1 of SchGdule D: Creditors Who Have Clalms Secured by Property (Ofiicial Form 1O6D), fill in the
       intormation below.
        Ucrtty trr crcAfor and the proporry Olar b collrtorrl Vvtat do you Inlerd to do wlth tho proporg that         Dld you c|.ln tho proporty
                                                                          secultsad€Dr?                                      .3   erfilF    on Sch€dule C?


        Credito/s CONNS                                                    D    Surrender the property.                       E   tto
        name:
                                                                           I    Retain the property and redeem it.
                                                                          E     Retain the property and enter into a          !   Yes
               of
        Descnption           COUCHES, CHA|RS,       ry, Tv                      Reafiimation AgEemenl-
        property             STAND                                        I     Retain the properg and lexplain]:
        securing debt                                                          CONTINUE MAKING PAYMENTS


        Creditor's SELENE FINANCE LP                                      E     Surrender the property.                      ENo
        name:
                                                                          I     Retain the property and redeem it
                                                                          E     Retain the property and enter into a         I    Yes
               of
        Description          3660 EAST HASH KNIFE DRAW                          Reafrmation Agrcemenl-
        property             ROAD San Tan Valley, AZ E5140                I     Retain the property and lexplain]i
       securing       debl   Pinal County
                                                                              CONTINUE MAKING PAYMENTS


For any unexpired porsonal proporty lease that you listod in Schedule G: Erecutory Contracts and Unexpirea Leases lofficiat Form lOSG;, frlt
in the infotmation bolow. Oo not list real estatc leases. Unexpired leases arc leases that are still in eft€ct; the lease period has not yet ended.
You may assumg an unexpired personal property lease il the trustee does not assume iL 1l U.S,C. S 36S(pX2).

 O€scrlbe your unexpirgd peilonal property leas€6                                                                       wlll tfia base ba as3um€d?


Offcial Form 108                                    Statoment of lntention lor lndividuals Filing Under Chapter 7                                           Page   1


SoiiEre CopyrEhl (c) 1996-2019 Best Cas6. LLC   wwbesre*@h


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  PrEilf                                                                                         Eva
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  Dc.rErdhal
  Propqlf                                                                                        Evc
  Lrrld3 narr:                                                                                   trxo
  O€.crtrodE
  Prwlr                                                                                          El vcr
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 Dc!.rhtBt d         ld
 PrEnf                                                                                           El   vs
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        Case 4:19-bk-08056-SHG                        Doc 1 Filed 06/28/19 Entered 06/28/19 13:43:07        Desc
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                                                                                                              Che.( c.e bcx only as d reated    .lh   s for.n   a.o rr Fcrnr
                                                                                                              122A l Supp
  Debtor 1               LOUIS NINO
  Debtor 2               DEENA NINO                                                                             I   l. There   is no presumption ot abuse

  united States Bankruptcf Coud for          the:    Olstrid ol Arizona
                                                                                                                E   2. The calculation to determine if a presumption of abuse
                                                                                                                       applies will be made uidet Chapter 7 l,leans Test
                                                                                                                       Calculalion (Olfrcial Fom. 122A-2)
  Case number
                                                                                                                E   3. The Means Test does not apply now because of
                                                                                                                                       service but it could apply later.

                                                                                                                E   Check if this is an amended liling
 OfficialForm 122A- 1
 Chapter 7 Statement of Your Current Monthly !ncome                                                                                                                            1U15
Be.s completD and accurate as Poasible.lrtwo manied people ere fillng togetiet both     are equally re6ponslble for being accurate. lf mor€ lpace is ne€ded,
attach a seParate sheetto thls form. lnclude tho line numberto which the additional Inlormatlon applies. On ti€ top ol any additonal pages, wrlte your nam€ and
cale numbcr (il lnown)- lfyou beliove that you are exempted frDm a plesuhption ol abule because you do not have prlm;riry consumea debts oa becaule of
qualirylng mllit ry .ervice, complete and file Slatenenl ot Exemption lrofi Presumplion of Abuse Under 5 707(b)(2) lotfrciat Forrr| t 22A-lSupp) witi tI|is form.

 Pa.t 1:            Calculatg Your Current Monthly lncome

   1   .   \IYhat is your marital and    liling status? Check one      only.
           E   Not manied. Fill out Column      A   lines 2-1   1.

           I   manied and your spouse is filing with you. Fill out both Cotumns A and B, tines 2-11.
           E   Married and your spouse is NOT filing wlth you. you and your spouse are:
               E   Living in the same household and are not legally separated. Fi[ out bolh Cotumns A and B, tines 2-l                     1.

               E   Living separately or are legally separated. Fill out Column A, lines         2-11 ;   do not fill out Column B. By checking this box you declare under
                   penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                   living apart for reasons that do not include evading the Means Test requirements. 11 U S.C S 707(bX7)(B).
       Flll ln tho .vartge montily lncome th:lt you Ecelved t Dm all 6o!rce3, deriyad durlng th€ 5 tull monoE batoG you f l€ thla bankruptcy caae. 1t U.S C. S

       the 6 months, add the inco.ne for att 6 monuls and divide the tolat by 6. Fi in the resuh. Do not irEludre any ,ncorne anlounl more tlEn onc6. For exampte, if boih
       sPous€s own lhe same rental property, pd the inclme trom that property in one cotumn only. It you have nothing b reporl for any tin€, wr(E gO in the spacs.

                                                                                                                Columt   A                Column B
                                                                                                                Debtor   I                D€Hor 2 or
                                                                                                                                          non-filing spouso
  2.       Your gross wages, sala,y, tips, bonuses, overtime, and commissions (befo.e all
           payroll deductions).                                                                                 s              230.56 $                  0.00
  3.       Alimony and maintenance paymsnts. Do not include payments from a spouse                       rf
           Column B is filled in.                                                                               $                0.00 s                  0.00
  4        All amounts from any source which arc regulariy paid lor household exp€nses
           of you or your dependents, including child support. lnc-lude regular contributions
           from an unmarned partner, members of your household, your dependents, parents,
           and roommales. lnclude regular contributions ftom a spouse only if Column B rs not
           filled in. Do not include payments you listed on line     3.                                         $               0.00 S                   0.00
  5.       Net income from operating a busincss, prolession, or farm
                                                                                       D€btor   1

           Gross receipts (before   alldeductions)    $                             15,068.91
           ordinary and necessary operatrng expenses -$                              9,675.42
           Net monthly income from a business,
           p.ofession, or farm                                       $                s,3s3.4r      ijl"'.,    r          s,3s3.4s       s              o.oo
  6.       Net income from rental and other real property
                                                                                       Dobtor   1

           Gross receipts (beforealldeduclions)                 $                   0.00
           Ordinary and necessary operating expenses           -$                   0.00
           Net monthly income ftom rentalor other reatproperty 5                    0.00    copyhere->$                         0,00 S                  0.00
  7        lnterest, dividends, and royalties                                                                   5               0.00 $                  o.oo




Offcial Form 122A-1                                       Chapter 7 Statemenl of Your Cu.rent Monthly lncome                                                             pagq   ,
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